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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                    )       Case No. 1:21CR-579-DLF
                                             )
                      Plaintiff,             )
                                             )
vs.                                          )           MOTION FOR
                                             )        PERMISSION TO SEAL
BRANDON J. STRAKA,                           )
                                             )
                       Defendant.            )



       COMES NOW the Defendant, Brandon J. Straka, by and through undersigned counsel, and

requests permission from the Court to Seal Defendants Sentencing Memorandum, Sentencing

Exhibit List, and corresponding Sentencing Exhibits based on the information contained therein.

       WHEREFORE, Defendant prays for the relief requested and for such other and further relief

as the Court may deem just and equitable.



                                             BRANDON J. STRAKA, Defendant,

                                     By:     s/Stuart J. Dornan
                                             STUART J. DORNAN, #18553
                                             Attorney for Defendant
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on December 15, 2021, I electronically filed the foregoing document
with the Clerk of the District Court using the CM/ECF system which sent notification of such filing
to the following:

       N/A  Filed Under Seal

and I hereby certify that I have electronically mailed the document to the following non CM/ECF
participants:

       Brittany L. Reed, Assistant United States Attorney
       Jessica Reichler, United States Pretrial Services and Probation Officer

                                              s/Stuart J. Dornan
                                              STUART J. DORNAN, #18553
                                              Attorney for Defendant




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                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                                     )                   1:21CR-579-DLF
                                                              )
                               Plaintiff,                     )
                                                              )             DEFENDANTS
vs.                                                           )       SENTENCING MEMORANDUM
                                                              )
BRANDON STRAKA,                                               )
                                                              )                  (Filed Under Seal)
                               Defendant.                     )




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          I.       INTRODUCTION AND DEFENDANTS SENTENCING REQUEST

         On October 6, 2021, Defendant Brandon Straka (Brandon) entered a plea of guilty to one

count of misdemeanor Disorderly or Disruptive Conduct on the Capitol Grounds to Disturb or

Disrupt the Orderly Conduct of either House of Congress in violation of 40 U.S.C. §

5104(e)(2)(D). The Defendant respectfully requests that he be sentenced to a term of home

confinement and be sentenced to complete as much community service as the Court deems

necessary; and that he not be placed on Probation.

                                   II.       NATURE OF THE OFFENSE

         Brandon had an extremely unique role on January 6 at the Capitol, as will be evinced by

the following discussion of the nature of the offense.1

         On December 19, 2020, following the 2020 presidential election, then-President Donald

Trump announced a Save America rally to protest the results.2 The rally was set for January 6,

2021, the same date Congress was set to certify Joe Biden as the winner of the presidential election.

Prior to the January 6, 2021 rally at which then-President Donald Trump was set to speak, Brandon

was set to speak at a rally held at Freedom Plaza on January 5, 2021 and travelled to Washington,

D.C. for that purpose. Brandon remained in Washington, D.C. after the rally on January 5, 2021,

as he was a potential slated speaker at a rally the next day. On the morning of January 6, 2021,

Brandon arrived at the Ellipse at 5:00 a.m. in anticipation of then-President Trumps rally to start.

Up until the time Brandon arrived at the event, he believed that he might speak at that event.

Brandon also planned on speaking at an event that was being held on the United States Capitol


1
  The government commonly refers to January 6 as an insurrection, despite never bringing a single charge of
insurrection against any defendant. It appears the government uses this language to inflame the passions of its
audience and distract from the specific conduct committed by each individual defendant.
2
  President Trump announced the rally on Twitter, tweeting, Big protest in D.C. on January 6th . . . Be there, will be
wild! See Dan Barry and Sheera Frenkel, Be There. Will be Wild!: Trump All but Circled the Date, The New
York Times (Jan. 6, 2021), available at https://www.nytimes.com/2021/01/06/us/politics/capitol-mob-trump-
supporters.html.

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Grounds after the conclusion of President Trumps rally; and his plan was to go to the Capitol after

President Trumps rally to speak. Brandon understood that this rally would be on the Capitol

Grounds, but did not know exactly where.

       When President Trump concluded his remarks around 1:00 p.m., a wave of protestors left

the Ellipse and headed toward the Capitol. At this time, Brandon left the Ellipse and traveled to

the Willard Hotel to meet with two of his employees who were designated as security guards. Upon

the advice of his security guards, Brandon did not participate in the march to the Capitol and

instead took the Metro to the Capitol. While riding on the Metro, Brandon began receiving push

notifications on his phone about what was happening at the Capitol. The Metro did not stop at the

Capitol, and Brandon got off at the next stopwhich was roughly an 18-minute walk from the

Capitol.

       By the time Brandon arrived, at around 2:40 p.m. (a full twenty minutes after the Capitol

had been cleared), the outer barriers and fencing that had previously surrounded the Capitol were

largely displaced. Brandon arrived and approached the East side of the Capitol, where things were

calmer; and Brandon did not notice anything out of the ordinary during most of his walk to the

Capitol. Brandon observed people milling around, with some protesting and/or holding signs as he

began to approach the throng of people near the East side Capitol stairs. There were no police

officers visible on the East side of the Capitol grounds during his walk onto the grounds, and no

closed barriers or closed barricades could be seen. The pathways to the Capitol building were fully

open and people were calmly wandering around these pathways in all directions. Brandon began

filming the scene on his iPhone. As he ascended the stairs and got closer to the entrance, Brandon

began to encounter a rowdier and more chaotic scene. Brandon did not see any police officers,

closed barriers, or tape that indicated that he should not be in the area as he ascended the stairs.




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       As Brandon walked up the stairs, he saw a man at the top who appeared to be a protestor,

waving to the crowd below in a summoning manner and shouting, Were going in! Theyve

opened the doors! The doors are open! Brandon can be heard on the video repeating the words of

the man for purposes of highlighting that activity to the videos audience. Brandon says, They

seem to be summoning people to go inside. Were going in. Theyre saying, Were going in.

       For a few minutes, Brandon filmed the scene with his camera held aloft over his head with

both hands as he was unable to see much of the activity happening in front of him due to many

of the protestors in front of him being much taller than him and carrying large flags

hanging down from tall flagpoles. Brandon observed a man come out of the Capitol who stated

that everyone should turn around, so Brandon turned around and began his descent of the stairs of

the East side of the Capitol. Brandon never entered the Capitol Building. After the scene on the

steps, Brandon spent some more time interviewing others about their experiences that day. He then

uploaded the video from the steps to Twitter.

       Brandon removed both the video and the remarks he made via Twitter within hours of

posting them after he returned to his hotel room and saw footage on the news which made him

realize the extent of the damage that occurred at the Capitol. Brandon did not remove the content

for fear of being arrested but rather because he was ashamed about being associated with what he

saw on the news reports. Brandon initially thought that his observation of what happened at the

Capitol was a protest; and was appalled when he learned that others had destroyed property and

committed acts of violence.

                  III.    MR. STRAKAS HISTORY AND BACKGROUND

       Brandon Jerrard Straka was born on December 16, 1976 in ONeill, Nebraska to the union

of Dan Straka and Mary Straka. Brandon had a largely normal and active childhood with involved

parents, although it was socially difficult for him to be gay in his small farming community. (PSIR


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¶38). Brandon was an excellent student and was active in his school and 4H Club. A few years

after graduating from high school, Brandon moved to New York City, where he resided for nearly

the next twenty years, from 2000 to 2020. (PSIR ¶40). In 2014, Brandon earned his degree in

cosmetology from the Aveda Institute. (PSIR ¶52). In January of 2015, Brandon took a huge

positive step in his life and joined Alcoholics Anonymous. He has remained sober for nearly seven

years after facing difficulties with alcohol and cocaine throughout his twenties and early thirties.

(PSIR ¶50). Brandon has been very open about his struggles in this arena in order to relate to and

inspire others.

       In January of 2019, Brandon formed the #WalkAway Foundation, which is a non-profit

organization dedicated to understanding the political divide and seeking to unite individuals with

differing views. (PSIR ¶57). For Brandon, this meant his leaving of the Democratic Party and the

creation of a safe space for those who, like him, did not feel that liberalism represented them. This

video created a cascade of opportunity for Brandon to speak in various capacities across the

country, making connections and volunteering for causes important to him as he did so. The

relationships that he has cultivated through this work have been extremely important to the people

who have felt unmoored or unable to politically connect with their families and friends. The letters

of support speak for themselves as to the impact Brandon has created.

       Since January 6, Brandon has spent a lot of hard time reflecting on his role in the events

that took place that tragic day. He has offered strong condemnation for any violence used that day,

especially the violence perpetrated against police. Additionally, Brandon has been actively using

his platform to support law enforcement officers. Upon visiting the #WalkAway Foundation

website, the first option presented is to donate to the Refund the Police initiative: #WalkAway

will donate 75% of the funds raised to pro-police organizations in [the fourteen (14) cities most

affected by defunding initiatives]. The other 25% will be used for the cost of overhead for this


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campaign.3 This initiative will close at the conclusion of this year; and is close to having raised

over $18,000.00 at this time. (Exhibit B).


                                           IV.     ARGUMENT

                                 A.        STATUTORY PENALTIES

        Disorderly or Disruptive Conduct on the Capitol Grounds to Disturb or Disrupt the Orderly

Conduct of either House of Congress is a violation of 40 U.S.C. § 5104(e)(2)(D) and carries a

maximum sentence of six (6) months of imprisonment pursuant to 40 U.S.C. § 5109(b); a fine of

not more than $5,000 pursuant to 18 U.S.C. § 3571(b)(6); a term of Supervised Release of not

more than one year pursuant to 18 U.S.C. § 3583(b)(3); and an obligation to pay any applicable

interest or penalties on fines and restitution not timely made.

                                      B.         ADVISORY GUIDELINES

        Disorderly or Disruptive Conduct on the Capitol Grounds to Disturb or Disrupt the Orderly

Conduct of either House of Congress is a violation of 40 U.S.C. § 5104(e)(2)(D) and a Class B

Misdemeanor as defined by 18 U.S.C. § 3559(a)(7). Accordingly, pursuant to U.S.S.G. § 1B1.9,

the sentencing guidelines do not apply to this case.

    C.   A SHORT SENTENCE OF HOUSE ARREST, EXTENSIVE COMMUNITY
    SERVICE, AND THE PAYMENT OF RESTITUTION RESULT IN A SENTENCE
       CONSISTENT WITH THE FACTORS SET FORTH IN 18 U.S.C § 3553(a)

        In Sentencing Memoranda put forward in various Capitol cases, the Government has

indicated that there are a variety of specific factors that should be considered in determining the

severity of a sentence warranted for this type of offense. In United States v. Ehrke, 21-cr-97-PLF,




3
 See #WalkAway Foundation Homepage last accessed Dec. 14, 2021, available at
https://www.walkawayfoundation.org/.

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Document 20 at page 7, the Government indicates that nine factors, while noting that they are not

dispositive or exhaustive, should be considered:

       1) Whether, when, and how the defendant entered the Capitol building.

               a. Brandon did not enter the Capitol building.

       2) Whether the Defendant engaged in any violence or incited violence.

               a. Brandon did not commit any acts of violence, and there is no evidence that any

                  of Brandons statements at the Capitol caused any third party to commit an act

                  of violence. Brandon was in the back of a crowd and simply repeated what

                  others were chanting to memorialize the events on his video recording.

       3) Whether the Defendant engaged in any acts of destruction.

               a. Brandon did not engage in any acts of destruction; as he was filming the event

                  in a journalistic capacity.

       4) The Defendants reaction to acts of violence or destruction.

               a. Brandon turned around and left when he heard someone say that it was time to

                  leave, despite the fact that others around him continued forward toward the

                  Capitol door even after being told they should leave. Brandon did not personally

                  witness the acts of violence that were broadcast on television.

       5) Whether during or after the riot, the Defendant destroyed evidence.

               a. Brandon never destroyed any evidence. He removed his video from social

                  media hours after posting it after realizing what had occurred on January 6 so

                  that he did not appear to be supportive of violence committed, but this video

                  was never destroyed or deleted.

       6) The length of the Defendants time inside of the building, and exactly where the

           defendant traveled.


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               a. Brandon never entered the building. His approach to the building was on the

                   East side. The initial breach occurred on the West side of the Capitol building.

                   He spent roughly half an hour to an hour on the Capitol Grounds.

       7) The Defendants statements in person or on social media.

               a. Brandon made statements on social media that were in retrospect irresponsible

                   and potentially inflammatory. Any statements Brandon made must be

                   considered in context with the fact that Brandon had not witnessed the violence

                   committed on the west side of the Capitol and he had not seen what was

                   broadcasted on television. Once understanding the full context of the events,

                   Brandon retracted and removed his prior statements.

       8) Whether the Defendant cooperated with, or ignored, law enforcement.

               a. Brandon cooperated fully with law enforcement, including providing two

                   proffers and turning over the password to all devices seized as part of the search

                   warrant executed on his apartment. Brandon provided information on

                   individuals the government was investigating in separate cases and answered

                   all questions posed by the government.

       9) Whether the Defendant otherwise exhibited evidence of remorse or contrition.

               a. Brandon has not only exhibited evidence of contrition; he has taken proactive

                   steps to make whole those who have been hurt by his actions. His Refund the

                   Police initiative shows how dedicated he is to providing recompense to those

                   who may have been affected, directly or indirectly, by his actions on January 6,

                   2021.

       The nature and circumstances of the offense and Brandons history and characteristics have

been set forth above. Another 18 U.S.C. § 3553(a) consideration is the need to promote respect for


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the law, to provide just punishment, and to afford adequate deterrence. Between the time of

Brandons arrest and his initial appearance on the Complaint, Brandon spent approximately two

days in jail. As the Court knows, for an individual that has no prior criminal history or interactions

with law enforcement and the penal system, any period of incarceration can be eye-opening and

serve as a deterrent to future criminal conduct. Brandon, although he knows that he broke the law

in this instant offense, has no history of disorderly conduct in the years of demonstrations that he

was part of and organized prior to this offense. In fact, he was a stickler about following the rules

and obtaining proper permits. The fact that this is a blip on an otherwise long list of peaceful

demonstrations shows that Brandon is not a future threat and that deterrence of future criminal

conduct is not an issue needing resolved in this matter.

       One important aspect of promoting respect for the law is encouraging cooperation and

truthfulness with law enforcement. Here, following his arrest, Brandon cooperated with law

enforcement by proffering on two occasions, by providing relevant media and leads, and by

providing passcodes to the devices that were seized as part of the investigation.

       Additionally, Brandon has expressed extreme remorse for his actions. In his lengthy letter

the Court, Brandon states:

               The very next day I told all of my followers that I had made some very

       irresponsible comments about the Capitol riot without knowing all the facts and

       that I regretted making those comments and was embarrassed to think anybody

       might read them and think I supported any of the violence or vandalism that we

       were now seeing.

               To be clear, Your Honor, I think January 6th is nothing more than an

       incredibly shameful day that had absolutely no positive attributes whatsoever.

       Nothing positive was accomplished. If I had just made the choice to stick with my


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       plan of poll watching in Georgia, my life would be completely different today.

       Instead, I got swept into a horror show that has turned my life upside down and

       caused unspeakable destruction        Im sorry that I was present in any way at an

       event that led people to feel afraid, that caused shame and embarrassment on our

       country, and that served absolutely no purpose other than to further tear away at the

       already heartbreaking divide in this country.

              I want to apologize to all members of the Capitol Police whose safety was

       put in danger by the unruly mobs. In particular, the police officer who is seen in my

       video whose shield was being taken by the crowd. No protest should ever get out

       of hand to the point of becoming a riot, and no police officer should ever have to

       feel that their life or their safety is in jeopardy while trying to keep the peace at a

       public demonstration.

              And I want to apologize to every member of Congress, regardless of

       political affiliation or background. Im deeply sorry and ashamed for being present

       at an event that sent members of Congress running in fear to evacuate a building. I

       can sincerely say that I would never intend for such a thing to happen, but

       nonetheless, it did. And I was there. And Im truly sorry for that. (Exhibit #A).

         Brandons prior seeming bravado, as set forth in his social media postings immediately

after January 6, appears to have been tempered by a realization of the consequences of his actions.

         If the Court would allow Brandon to have included in his sentence a stronger portion of

community service rather than a sentence of Probation, the country at large will be better served.

The nature of Brandons job requires that he often travels, making supervision more difficult and

costlyand to what end? Brandon has already been on Pretrial Release for nearly a year with no

violations. He clearly has the capability to contribute to the greater good through fundraising and


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leading others into service with him. While the Probation Offices Recommendation sees

Brandons following as a reason for concern4, it is the Defendants belief, and Counsel for the

Defendants belief, that his talents can be put to better use than verifying that he is in compliance

with certain conditions of Probationthat if he is given true freedom, that he will use that freedom

in service of his country.

        As an additional consideration for foregoing a sentence of Probation, collateral

consequences are within the scope of the Court to consider under 18 U.S.C § 3553(a). See United

States v. Nesbeth, 188 F.Supp.3d 179 (E.D.N.Y. 2016). . . . [S]ufficient attention has not been

paid at sentencing to the collateral consequences facing a convicted defendant. Nesbeth, 188

F.Supp.3d at 180. Prior to even being sentenced, Brandon has faced many collateral consequences

in the form of lost business opportunities, placement on the TSA terrorist watch list and

corresponding public humiliation, accidental disclosure on the record of his cooperationleading

to more public humiliation and threats, his de-platforming by various social media and payment

processing websites, and his eviction from his apartment, to name a few. That these consequences

have been or will be suffered by the Defendant is sometimes unavoidable and, in many estimations,

warranted. This is not the issue. Defendants position is that the magnitude of these collateral

consequences should be considered as part of a whole when determining the appropriate sentence

to impose.

        Additionally, the need to avoid unwanted sentencing disparities is of major importance in

this case. When examining other cases in which the Defendant has been sentenced to the same

sentence being recommended by Probation in the instant matter, the disparity in actual conduct is

alarming. Take the case of United States v. Jones, 1:21cr-321-JEB, as an example. In this case, the


4
 The government has never alleged, and there is no evidence, that Brandon used his following to commit any
criminal activity. Brandon is charged for conduct he committed at the Capitol in his personal capacity.

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Defendant entered the Capitol through the Senate Wing and continued to take pictures and film

inside of the Capitol; remained inside the Capitol for approximately fifteen minutes; leaving only

after being subjected to tear gas administered by law enforcement officers. What specially

differentiates Joness conduct from the instant matter is that Jones observed individuals removing

barricades erected to prevent entry into the U.S Capitol, then scaled a wall to access the first floor

of the Capitols exterior, then entered the Capitol and filmed the destruction and chaos inside.

       Because there is only a small pool of cases to draw from in determining whether a certain

defendants conduct is aggravating or mitigating, the above case is offered to show what conduct

has been viewed as punishable by the same Sentencing Recommendation that has been set forth

by Probation in the instant matter. In Jones, the Government concedes that the Government has

requested incarceration in cases in which defendants have scaled the Capitol and that this conduct

is an aggravating factor that the Courts have considered when imposing sentencing. If, on balance,

Jones was sentenced to three months of home detention, three years probation, no less than 60

hours of community service, and $500 in restitution; then how does Brandons conduct compare?

How does his show of remorse compare? How do his fundraising efforts compare? How do the

collateral consequences he has faced compare?

       Another sentence of note is that in United States v. Doyle, 1:21-cr-324-TNM, in which the

Defendant received a sentence of two months probation, a $3,000 fine, and $500 in restitution. In

Doyle, the Defendant entered the Capitol building by climbing through a broken window. She

stayed in the Capitol for over twenty minutes, at one point being stopped by a law enforcement

officer, at which she either yelled or chanted and then continued about her business. The Defendant

observed individuals climbing on scaffolding, climbing through windows to enter the Capitol, and

individuals dressed in military-style clothing. This conduct is much different than Brandons brief




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encounter outside of the Capitol building on the East side, in which he turned around left when

instructed.

           It seems that the sentence recommended in this case is a standardized recommendation by

the Probation Office; and it therefore fails to take into account the specifics of the instant matter.

For example, this same sentencing recommendation was also made in United States v. Cordon,

1:21-cr-269-TNM. The conduct in Cordon involved the Defendant wearing body armor, carrying

a gas mask, observing altercations between police and rioters, stepping through a broken window

into the Capitol building, and then spending five minutes inside the Capitol building. For this

offense, Cordon received two months probation and a $4,000.00 fine. Brandons behavior was far

less problematic and far less premeditated than Cordons behavior.

           Even more to the point is the case of Cordons brother, Kevin Cordon at United States v.

Cordon, 1:21CR-277-TNM. Kevin Cordons time at the Capitol went much the same way that his

brothers did, save for Kevin gave an interview to a Finnish reporter after exiting the Capitol. In

this interview, Kevin stated, We're here to take back our democratic republic. It's clear that this

election is stolen, there's just so much overwhelming evidence and the establishment, the media,

big tech are just completely ignoring all of it. And we're here to show them we're not having it.

We're not-we're not just gonna take this laying down. We're standing up and we're taking our

country back. This is just the beginning. This interview can still be accessed online today.5 Kevin

received a sentence of 12 months probation, 100 hours community service, a $4,000.00 fine, and

$500.00 in restitution.

           Brandon also objects to the recommendation by the Probation Officer that he be subjected

to a discretionary condition of Probation that monitors his electronic communications service



5
    https://www.is.fi/ulkomaat/art-2000007723759.html, last accessed December 15, 2021.

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accounts, including email accounts, social media accounts, and cloud storage accounts. Brandon

also objects to his financial activity being monitored by the Probation Office. These discretionary

conditions of Probation are not sufficiently relevant to the offense committed. In United States v.

Taylor, 796 F.3d 788 (7th Cir. 2015), the Seventh Circuit reversed a restriction on the defendants

computer ownership and internet access in a bank larceny case, stating that the restriction was not

reasonably related to his prior conviction for incest. In Brandons case, emailing, using social

media, and using cloud storage has nothing to do with his offense.



                                     V.     CONCLUSION

       It is the wish of the Court, society and the Defendant, Brandon Straka, that he is granted a

sentence that enables him to justly recompensate for his wrongdoings and allows him to remain in

the community as a productive, law-abiding, and rehabilitated citizen. A sentence of a short term

of house arrest, coupled with an extensive requirement of community service with Court-ordered

restitution is sufficient but not greater than necessary in the present matter to accommodate this

desire. The Defendant respectfully requests a short sentence of house arrest, coupled with an

extensive requirement of community service with Court-ordered restitution.

                                             BRANDON J. STRAKA, Defendant

                                      By:    s/Stuart J. Dornan
                                             STUART J. DORNAN, #18553
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on December 15, 2021, I electronically filed the foregoing document with
the Clerk of the District Court using the CM/ECF system which sent notification of such filing to the
following:

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       Brittany L. Reed, Assistant United States Attorney
       Jessica Reichler, United States Pretrial Services and Probation Officer

                                               s/Stuart J. Dornan
                                               STUART J. DORNAN, #18553
                                               Attorney for Defendant




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Table I: Cases in which the government recommended a probation sentence without home detention"':

 Defendant Name           Case Number               Offense of Conviction           Government                     Sentence Imposed
                                                                                    Recommendation
 Morgan-Lloyd, Anna       l:21-CR-00164-RCL         40 U.S.C. § 5104(e)(2)(G)       36 months' probation, 40       36 months' probation, 120
                                                                                    hours community service,       community service hours, $500
                                                                                    $500 restitution               restitution
 Ehrke, Valerie           1:2 I-CR-00097-PLF        40 U.S.C. § 5104(e)(2)(G)       36 months' probation, 40       36 months' probation, $500
                                                                                    hours conununity service,      restitution
                                                                                    $500 restitution
 Bissey, Donna            I :21-CR-00165-TSC        40 U.S.C. § 5104(e)(2)(G)       36 months' probation, 40       14 days incarceration, 60 hours
                                                                                    hours community service,       community service, $500 restitution
                                                                                    $500 restitution


Table 2: Cases in which the government recommended a probation sentence with home detention

I Defendant Name      I   Case Number           I   Offense of Conviction           Government                 I   Sentence Imposed
                                                                                I   Recommendation
 Bustle, Jessica          1:2 l -CR-00238-TFH       40 U.S.C. § 5104(e)(2)(G)       3 months home detention,       60 days of home detention, 24
                                                                                    36 months' probation, 40       months' probation, 40 hours
                                                                                    hours community service,       community service, $500 restitution
                                                                                    $500 restitution
 Bustle, Joshua           l:21-CR-00238-TFH         40 U.S.C. § 5104(e)(2)(G)       1 month home detention, 36     30 days home detention, 24 months'
                                                                                    months' probation, 40          probation, 40 hours community
                                                                                    hours community service,       service, $500 restitution
                                                                                    $500 restitution
 Doyle, Danielle          I :21-CR-00324-TNM        40 U.S.C. § 5104(e)(2)(G)       2 months home detention,       2 months' probation, $3,000 fine,
                                                                                    36 months' probation, 60       $500 restitution
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                                                                      hours community service,

Bennett, Andrew     I :21-CR-00227-JEB    40 U.S.C. § 5104(e)(2)(G)
                                                                    I 3$500 probation
                                                                        months home detention,       3 months of home detention,
                                                                      36 months' probation, 60       24 months' probation, 80 hours
                                                                      hours community service,       community service, $500 restitution
                                                                      $500 restitution
Mazzocco, Matthew   I :21-CR-00054-TSC    40 U.S.C. § 5104(e)(2)(G)   3 months home detention,       45 days incarceration, 60 hours
                                                                      36 months' probation, 60       community service $500 restitution
                                                                      hours community service,
                                                                      $500 restitution
Rosa, Eliel         I :2 I-CR-00068-TNM   40 U.S.C. § 5104(e)(2)(G)   I month home detention, 36     12 months' probation, 100 hours
                                                                      months' probation, 60          community service, $500 restitution
                                                                      hours community service,
                                                                      $500 restitution
Gallagher, Thomas   1:2l-CR-00041-CJN     40 U.S.C. § 5104(e)(2)(G)   1 month home detention, 36     24 months' probation, 60 hours
                                                                      months' probation, 60          community service, $500 restitution
                                                                      hours community service, a
                                                                      fine, and $500 restitution
Vinson, Thomas      I :21-CR-00355-RBW    40 U.S.C. § 5104(e)(2)(G)   3 months home detention,       5 years' probation, $5,000 fine, $500
                                                                      3 years' probation, 60 hours   restitution, 120 hours community
                                                                      community service, $500        service
                                                                      restitution
Dillon, Brittiany   I:2 I-CR-00360-DLF    40 U.S.C. § 5104(e)(2)(D)   3 months home detention,       60 days home detention, 3 years'
                                                                      36 months' probation, 60       probation, $500 restitution
                                                                      hours community service,
                                                                      $500 restitution
Sanders, Jonathan   1:21-CR-00384-CJN     40 U.S.C. § 5104(e)(2)(G)   2 months home detention,       36 months' probation, 60 hours
                                                                      36 months' probation, 60       community service, $500 restitution
                                                                      hours community service,
                                                                      $500 restitution




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 Fitchett, Cindy        1:2l-CR-00041-CJN        40 U.S.C. § 5104(e)(2)(G)       2 months home detention,    I month home detention, 36 months'
                                                                                 36 months' probation, 60    probation, 60 hours community
                                                                                 hours community service,    service, $500 restitution
                                                                                 $500 restitution
 Sweet, Douglas         I :2 I-CR-00041-CJN      40 U.S.C. § 5104(e)(2)(G)       3 months home detention,    I month home detention, 36 months'
                                                                                 36 months' probation, 60    probation, 60 hours community
                                                                                 hours community service,    service, $500 restitution
                                                                                 $500 restitution
 Cordon, Sean            I :2 I -CR-00269-TNM    40 U.S.C. § 5104(e)(2)(G)       3 months home detention,    2 months' probation, $4000 fine
                                                                                 36 months' probation, 60
                                                                                 hours community service,
                                                                                 $500 restitution
 Wilkerson, John IV      l:2 I-CR-00302-CRC      40 U.S.C. § 5104(e)(2)(G)       2 months home detention,    36 months' probation, $2500 fine, 60
                                                                                 36 months' probation, 60    hours community service, $500
                                                                                 hours community service,    restitution
                                                                                 $500 restitution


Table 3: Cases in which the government recommended a sentence of incarceration

 Defendant Name        Case Number              Offense of Conviction        Government                     Sentence Imposed
                                                                             Recommendation
 Curzio, Michael        I :2 I-CR-00041-CJN     40 U.S.C. § 5104(e)(2)(G)    Not applicable                 6 months incarceration (time served),
                                                                                                            $500 restitution
 Hodgkins, Paul         I :2I-CR-00188-RDM      18 U.S.C. § 1512(c)(2)       I 8 months incarceration       8 months incarceration, 24 months'
                                                                                                            supervised release, $2000 restitution
 Dresch, Karl          I :21-CR-00071-ABJ       40 U.S.C. § 5104(e)(2)(G)    6 months incarceration         6 months incarceration (time served),
                                                                             (time served), $500            $500 restitution
                                                                             restitution
 Jancart, Derek        I :21-CR-00148-JEB       40 U.S.C. § 5104(e)(2)(D)    4 months incarceration,        45 days incarceration, $500
                                                                             $500 restitution               restitution
 Rau, Erik             I :21-CR-00467-JEB       40U.S.C. § 5104(e)(2)(D)     4 months incarceration,        45 days incarceration, $500
                                                                             $500 restitution               restitution
 Hemenway, Edward       I :2 I-CR-00049-TSC     40U.S.C. § 5104(e)(2)(G)     30 days incarceration, $500    45 days incarceration, 60 hours
                                                                             restitution                    community service, $500 restitution
 Reeder, Robert        I :21-CR-00 166-TFH      40 U.S.C. § 5 l04(e)(2)(G)   6 months incarceration,        3 months incarceration, $500
                                                                             $500 restitution               restitution

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Bauer, Robert        1 :21-CR-00049-TSC    40 U.S.C. § 5104(e)(2)(G)    30 days incarceration, $500   45 days incarceration, 60 hours
                                                                        restitution                   community service, $500 restitution
Vinson, Lori         1:21-CR-00355-RBW     40U.S.C. § 5104(e)(2)(G)     30 days incarceration, $500   5 years' probation, $5,000 fine, $500
                                                                        restitution                   restitution, 120 hours community
                                                                                                      service
Griffith, Jack       I :21-CR-00204-BAH    40 U.S.C. § 5104(e)(2)(G)    3 months incarceration,       90 days home detention, 36 months'
                                                                        $500 restitution              probation, $500 restitution
Torrens, Eric        1:2 l-CR-00204-BAH    40 U.S.C. § 5104(e)(2)(G)    2 weeks incarceration, $500   90 days home detention, 36 months'
                                                                        restitution                   probation, $500 restitution
Gruppo, Leonard      I :21-CR-00391-BAH    40U.S.C. § 5104(e)(2)(G)     30 days incarceration, $500   90 days home detention, 24 months'
                                                                        restitution                   probation, $3,000 fine, $500
                                                                                                      restitution
Ryan, Jenna          I :2 l-CR-00050-CRC   40U.S.C. § 5104(e)(2)(G)     60 days incarceration, $500   60 days incarceration, $ l000 fine,
                                                                        restitution                   $500 restitution
Croy, Glenn          1 :21-CR-00162-BAH    40 U.S.C. § 5104(e)(2)(G)    60 days incarceration, $500   90 days home detention, 14 days
                                                                        restitution                   community correctional facility, 36
                                                                                                      months' probation, $500 restitution
Stotts, Jordan       1:21-CR-00272-TJK     40 U.S.C. § 5104(e)(2)(G)    45 days incarceration, $500   60 days home detention, 24 months'
                                                                        restitution                   probation, $500 restitution, 60 hours
                                                                                                      community service
Fairlamb, Scott      I :21-CR-00 120-RCL   18 U.S.C. § 1512(c)(2),      44 months incarceration, 36   41 months incarceration, 36 months
                                           18 U.S.C. § 11 l(a)(l)       months' supervised release,   supervised release, $2000 restitution
                                                                        $2000 fine
Camper, John         I :21-CR-00325-CKK    40 U.S.C. § 5104(e)(2)(G)    60 days incarceration, $500   60 days incarceration, $500
                                                                        restitution                   restitution, 60 hours community
                                                                                                      service
Rukstales, Bradley   I :2l -CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)    45 days incarceration, $500   30 days incarceration, $500
                                                                        restitution                   restitution
Cordon, Kevin        I :21-CR-00277-TNM    18 U.S.C. § 1752(a)(l)       30 days incarceration, 12     12 months' probation, 100 hours
                                                                        months supervised release,    community service, $4000 fine, $500
                                                                        $500 restitution              restitution
Chansley, Jacob      1:21-CR-00003-RCL     18 U.S.C. § 1512(c)(2)       51 months incarceration, 36   41 months incarceration, 36 months
                                                                        months supervised release,    supervised release, $2000 restitution
                                                                        $2000 restitution
Mish, David          l:21-CR-00112-CJN     40 U.S.C. § 5104(e)(2)(G)    30 days incarceration, $500   30 days incarceration, $500
                                                                        restitution                   restitution

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Laios, John     1 :21-CR-00243-APM   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration, $500   14 days incarceration, $500
                                                                 restitution                   restitution
Scavo, Frank    1:21-CR-00254-RCL    40U.S.C. § 5104(e)(2)(G)    14 days incarceration, $500   60 days incarceration, $5000 fine,
                                                                 restitution                   $500 restitution
Abual-Ragheb,   1:2 l-CR-00043-CJN   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration, $500   60 days home detention, 36 months'
Rasha                                                            restitution                   probation, 60 hours community
                                                                                               service, $500 restitution




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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                 )          Case No: 1:21CR-579-DLF
                                          )
                  Plaintiff,              )
                                          )
vs.                                       )      SENTENCING EXHIBIT LIST
                                          )
BRANDON J. STRAKA,                        )
                                          )              (Filed Under Seal)
                  Defendant.              )


  EXHIBIT                      DESCRIPTION

      A.                       Letter from Brandon Straka (20 pages);

      B.                       External Memorandum from #WalkAway regarding Refund the
                               Police Initiative, dated December 14, 2021 (1 page);

      C.                       Letter from Dan & Mary Straka (5 pages);

      D.                       Letter from Libby Albert (2 pages);

      E.                       Letter from Shemeka Michelle (2 pages);

      F.                       Letter from Tonia L. Roberts (8 pages);

      G.                       Letter from YG Nyghtstorm (1 page);

      H.                       Letter from Alice Blonskij (1 page);

      I.                       Letter from Alycia Pennington (2 pages);

      J.                       Letter from Anthony J. Padillal (1 page);

      K.                       Letter from B. Lorena Gaertner (1 page);

      L.                       Letter from Beckham Matt (1 page);

      M.                       Letter from Bernadette OConnell (2 pages);

      N.                       Letter from Cheryl Beisel (1 page);

      O.                       Letter from Cindy Lomen (1 page);
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P.                   Letter from Cindy Standen (1 page);

Q.                   Letter from Connie Bouman (1 page);

R.                   Letter from Dianne E. Franke (1 page);

S.                   Letter from Donna Franz (1 page);

T.                   Letter from Dr. Maureen M. Hayes (1 page);

U.                   Letter from Dr. Steven M. Green (2 pages);

V.                   Letter from Isaac Esau Gay (1 page);

W.                   Letter from Janet Dunn (1 page);

X.                   Letter from Janet Fernstrom (1 page);

Y.                   Letter from Janet Olsen Hughes (1 page);

Z.                   Letter from Joanne M. Jones (1 page);

AA.                  Letter from Jovan Vitagliano (1 page);

BB.                  Letter from Katherine Lippi (1 page);

CC.                  Letter from Kerri Mullis (1 page);

DD.                  Letter from Linda Atkins (1 page);

EE.                  Letter from Linda Schrader (1 page);

FF.                  Letter from Lois Brom (1 page);

GG.                  Letter from Lourdes A. Perez (1 page);

HH.                  Letter from Lynn Harvey (1 page);

II.                  Letter from Martin Roberts (1 page);

JJ.                  Letter from Mary Padgett (1 page);

KK.                  Letter from Maxine Cunnygham (1 page);

LL.                  Letter from Michael & Collette Barry-Rec (1 page);


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MM.                  Letter from Mike Boss (1 page);

NN.                  Letter from Nancy L. Mari (1 page);

OO.                  Letter from Nicholas Rudy (1 page);

PP.                  Letter from Raymond Swank (1 page);

QQ.                  Letter from Rhonda Perry (2 pages);

RR.                  Letter from Roberta Schlechter (1 page);

SS.                  Letter from Robin Raley (1 page);

TT.                  Letter from Robyn C. Groen (1 page);

UU.                  Letter from Shari Melzar (1 page);

VV.                  Letter from Stephanie B. (1 page);

WW.                  Letter from Steven Bauman (1 page);

XX.                  Letter from Terry & Elaina Tupper (1 page);

YY.                  Letter from Therese M. Bates (1 page); and

ZZ.                  Letter from Todd Headlee (1 page).



                                BRANDON J. STRAKA, Defendant,

                        By:      s/Stuart J. Dornan
                                STUART J. DORNAN, #18553
                                Attorney for Defendant
                                Dornan, Troia, Howard, Breitkreutz
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                                1403 Farnam Street, Suite 232
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                                (402) 884-7044
                                stu@dltlawyers.com




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on December 15, 2021, I electronically filed the foregoing document
with the Clerk of the District Court using the CM/ECF system which sent notification of such filing
to the following:

       N/A  Filed Under Seal

and I hereby certify that I have electronically mailed the document to the following non CM/ECF
participants:

       Brittany L. Reed, Assistant United States Attorney
       Jessica Reichler, United States Pretrial Services and Probation Officer

                                              s/Stuart J. Dornan
                                              STUART J. DORNAN, #18553
                                              Attorney for Defendant




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Your Honor,

I want to thank you for this opportunity to speak. It is
the first time in an entire year that I've been given
the chance to tell my side of the events that led me
down this terrible path this year.

Your Honor, if one were to believe the media reports
about me and my participation on January 6th, or
even the limited statement of facts presented in this
case, one would be presented with a hyperbolically
frightening portrayal of a monster and a madman.
The media has labeled me a domestic terrorist, an
insurrectionist, a violent rioter, and equally
egregiously they wish to portray me as anti-law
enforcement.

Your Honor, as part of my plea agreement, I signed
a document called the statement of facts. I believe
that one could easily interpret the picture that this
document creates to be that I went to Washington
DC and ultimately the Capitol building on January
6th with the intention to break the law and do harm
to others. I would like to present to you, Your Honor,
additional facts that didn't make it into that
document.




                                 Exhibit A
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My decision to go to Washington DC on January 6th
was a last minute one. I had spent the entire month
of December and early January assembling
thousands of volunteers to make phone calls and
knock on doors for Senate candidates David Perdue
and Kelly Loeffler before the January 5th Georgia
Senate runoff elections. I had publicly stated on
cable news that I was volunteering to be a poll
watcher in Georgia on January 5th. For the past 4
years, involving myself in civics has become a
passion.

Around the 1st of January, I began getting messages
from activists I know stating that many of us were
being asked to speak at the Capitol on January 6th.
President Trump had already announced on Twitter
that this event was happening, which legitimized for
me that this event was truly taking place. Truth be
told, I did not want to go. By this point, none of the
calls for investigation into election fraud were going
well, and I had already accepted that a forensic audit
of the 2020 election was a lost cause and that it was
time to move on. However, after consulting with
many people I trust, the sentiment was conveyed to
me that hundreds of thousands of people would be
going to DC on January 6th for what would surely be
a monumental and historic event, and that I should
really consider the offer I'd been given to speak, as it


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was a great honor. So, tragically, I changed my plans
to stay in Georgia for the runoff election and decided
to go to DC to speak at the Capitol.

From the very beginning I was told that the format of
the event was that President Trump would be
speaking at the Ellipse, then there would be a march
to the Capitol, and then dozens of people (including
myself) would be speaking at the Capitol. I was told
that organizers had permits for the Capitol event.
And I was asked to share on social media a link to a
website called MarchToSaveAmerica.com, which
was connected to the White House's website, and I
was given access to graphics with the speaker's
names and pictures to promote the event. For the
next several days I posted the graphic with my face
and my name on it on social media which clearly
stated that I was a scheduled speaker at the Capitol
on January 6th.

The morning of January 6th, I sat in the front row at
the Ellipse and listened to the President of the
United States speak. He concluded by telling the
crowd that we were all now going to march
"peacefully" to the Capitol. Everything felt perfectly
normal and exactly in accordance with the schedule
of events for that day. I then walked to the DC Metro



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and got on the train to head to the Capitol for my
speaking engagement.

On the way to the Capitol, I began getting text
messages from people I knew who were at home
watching the news on television indicating that
people were going inside the Capitol building.
Shortly after, I started getting numerous messages
from the other scheduled speakers, some asking if
our event was still happening, if it was now
cancelled- it was total confusion. I was of 2 minds at
this point. Either,
#1) The event is still happening and I'm still
speaking, and that's what I came all the way to DC
to do.
Or
#2) The event may no longer be happening, but
SOMETHING is going on at the Capitol right now,
and I want to be there to capture footage of
whatever it is that's going on.

Your honor, in the past 4 years I have garnered a
following of over a million people on social media. I
have attended dozens of rallies, protests, and public
events of all political persuasions where I show up
and do street interviews with the people there and
capture footage of the events for my audience. In
addition to that, I am a regular commentator on


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multiple cable news networks. I've appeared on
cable news more than 200 times in the last 4 years
to discuss every topic you can imagine, from the
Supreme Court, to abortion rights, to immigration,
election integrity issues, civil rights, and rallies and
protests in American culture. The interviews I do and
the footage I capture has routinely been featured on
national and international news outlets.

In all of my on the scene reporting, I can honestly
say I have never witnessed a right wing protest get
out of hand. Typically, the crowds are mostly
comprised of older people, and the energy at the
events is very subdued. What I was being told via
text messages from people watching news footage
of January 6th from at home sounded completely
and totally unlike anything I had ever seen at a right
wing rally before.

So when I exited the DC metro and headed toward
the Capitol on foot, I knew instinctively that I had
better begin filming footage as early as possible,
because there could be newsworthy activity
happening well beyond Capitol grounds. I took out
my camera and began shooting footage from
approximately 3 blocks away from the Capitol
Building and shot one long continuous video for
about 12 minutes.


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Your honor, I approached the Capitol from the EAST
SIDE and arrived at approximately 2:40pm on
Capitol grounds according to the time stamps on the
video I shot. According to the timelines of the
January 6th riot, a group of people began to push
past barricades and overwhelm police on the WEST
SIDE of the Capitol at 12:53pm when I was 1.7 miles
away from the Capitol building. Over the course of
the next hour and a half, while I was exiting the
event at the Ellipse and underground in transit to the
Capitol, the mob on the West side of the Capitol
violently pushed past police, smashed windows,
scaled walls, and engaged in horrifying and 100°/o
unacceptable behavior, ultimately breaching the
West side of the Capitol building.

Your honor, as I approached the Capitol on the
opposite side of these events, the east side, I did
not witness the destructive activities occurring
on the West side. If I had seen any of those things
take place, I would have turned around and left as
quickly as possible.

Instead, I walked on to the Capitol grounds on the
East side. My entire experience is documented on
the video that I shot. When I approached I saw a
large crowd of people, I would estimate to be several


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thousand, many were milling around the grounds.
The largest group were assembled in the courtyard
area on the East side of the building. They were
facing AWAY from the building, many of them
holding signs and some were even singing songs. I
saw what appeared to be a more concentrated
crowd at the top of the Capitol steps on the East
side, and I assumed that this must be where the
people were going inside that I was hearing about
from people at home watching the news. I quickly
walked up the steps and as I did, a man was
standing at the top of the stairs with his hat in his
hand shouting, "We're going in! They've opened the
doors! The doors are open!". When I got to the top of
the stairs I saw two large metal doors were fully
open, and a large crowd of people were jammed
together facing the open doors. Some were pushing
to try to make their way inside.

For the next 8 minutes, I stood outside the Capitol
with my camera in both of my hands, and my hands
fully extended above my head pointing the camera
down toward the door as it was impossible to see
everything that was happening because many in the
crowd in front of me were much taller than I am, and
many were carrying large flags on poles that were
hanging down into my face. My goal was to get my



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camera to "see" as much as possible, even if I
couldn't see it myself.

In stepping up onto the Capitol steps, I broke the
law. It was never my intention to become a part of an
unruly mob or to do harm to anybody.

Another fact, Your Honor, which was not stated, is
that after approximately 8 minutes of me standing on
the steps shooting footage, a man is seen on my
video coming outside the Capitol and getting on a
bullhorn. He tells the crowd, in some rather
distasteful language, that Congress had cleared and
everybody went home. He tells the crowd, "Let's
move out, let's move out!" gesturing to the crowd to
walk away from the Capitol. Despite the fact that I
could have stayed and made the choice to walk
inside at that point, I immediately turned around and
shouted, "Everyone needs to go this way!", pointing
away from the Capitol and I walked down the stairs
and away from the Capitol.

At that point, I walked to the outer grounds of the
Capitol and shot 13 videos interviewing attendees
about why they were there and what they saw and
experienced.




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Shortly after, I got on social media and made some
very, very stupid comments. The comments I made
understandably gave a clear implication that I
supported what had happened at the Capitol that
day. It wasn't until hours after I posted these
comments that I was back at my hotel room and
started seeing the footage on the news of the
insanity and violence that had taken place earlier
that day outside of my view. I felt shock and horror
when I saw those images, and I immediately
realized that the situation at the Capitol was much
bigger and much more complicated than that which I
had witnessed with my own eyes. I immediately took
my comments down because I was embarrassed
and ashamed to think that anybody might interpret
these comments to mean that I supported the
horrific things that happened at the Capitol that day.

The next day, January 7th, I made a live video on
YouTube in which I clearly state exactly what I just
told you. The very next day I told all of my followers
that I had made some very irresponsible comments
about the Capitol riot without knowing all the facts
and that I regretted making those comments and
was embarrassed to think anybody might read them
and think I supported any of the violence or
vandalism that we were now seeing.



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To be clear, Your Honor, I think January 6th is
nothing more than an incredibly shameful day that
had absolutely no positive attributes whatsoever.
Nothing positive was accomplished. If I had just
made the choice to stick with my plan of poll
watching in Georgia, my life would be completely
different today. Instead, I got swept into a horror
show that has turned my life upside down and
caused unspeakable destruction.

Your Honor, while anti-police riots were sweeping
the nation throughout 2020, I created what were
called Rescue America rallies that I led in 18 cities
all across the United States. At these rallies, I led
hundreds and sometimes thousands of attendees
and volunteers as we cheered on America's law
enforcement. We marched all across America
chanting that We Back the Blue. I also hosted
livestreamed online panel discussions and debate
events with the purpose of sharing factual
information about the low incidences of law
enforcement violence as anti-police protesters were
demonizing police officers with inaccurate statistics
and misinformation to perpetuate the false narrative
that police officers are violent and can not be
trusted. Now, after the events of January 6th, I am
being labeled as "anti-police" and as "supporting
violence against officers". Please allow me to state


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clearly and unequivocally for the court, "I have
always stood with America's law enforcement
officers. I will always stand with America's law
enforcement officers. I have nothing but the absolute
utmost respect for all officers who put their lives on
the line every day to protect me and my fellow
American citizens, and I will ALWAYS back the blue­
just as I always have, every single day of my life."

Due to the media coverage of my arrest, and the
now dozens and dozens of headlines referring to me
as a "deadly insurrectionist", "domestic terrorist",
"violent rioter", and much more, I was served with a
notice to vacate my apartment within 30 days just
days after I got out of jail. I have been permanently
banned from using mainstream business financial
platforms like PayPal, Venmo, and Stripe, because I
am now considered a threat by these platforms who
have forbidden me to send or receive money
because I'm labeled a dangerous terrorist. I had to
cancel all of my events and paid speaking
engagements this year, and was permanently
banned from one of my online financial support
revenue streams when Patreon closed my account,
citing that I used my funds to commit violence. A
week after getting out of jail I received a letter in the
mail telling me that my TSA PreCheck status was
revoked because I'm no longer considered a low risk


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traveler. Then, when I attempted to fly for the first
time I discovered that the US government has
placed me on a terrorism watch list. I now have an
SSSS, or quad S, designation when I go to the
airport. I was told by TSA that this is the highest level
terrorism watchlist a person can be on while still
being allowed to fly. I now have to go through hours
of screening at the airport by a dedicated team of
usually around 8 to 10 TSA agents. They swap every
single item in my bag and test it for explosives. They
put their hands down my pants and repeatedly grab
and touch my genitals in front of everybody at the
security checkpoint. They take pictures of my
boarding passes and my ID. And then, when I pass
security inspection, they follow me around the airport
and follow me to the gate, where they set up a
perimeter around me until the plane begins to board.
They bring a machine to the gate, and after
scanning my boarding pass, I once again have to
have every item in my bag swabbed and tested, this
time in front of the terrified passengers whom I'm
about to share a flight with. When I land for my
connecting flight, they do it all again in front of the
passengers before I board the next plane.

I was permanently banned from using all the
fundraising portals my organizations used for
fundraising for my business. I was permanently


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banned from using my email platform to email my
subscribers.

The media even misreported a comment
made at my plea hearing, in which it was indicated
that I had (past tense) cooperated with the
Prosecution by turning over my email and social
media passwords, etc. I was promised that any
terms of cooperation would be sealed and
confidential for my own protection. Instead, the
media who was listening on the phone in my plea
hearing reported that you said that I WOULD BE
cooperating with the prosecution in the future. They
began running stories saying that I was becoming a
snitch and would be turning people over to
investigators. And from that I've received an
onslaught of messages implying threats to my safety
and wellbeing over something that wasn't even true
in the first place.

In addition to the extreme and permanent damage to
my character that the stockpile of media
misreportings on my case have done, there have
been several attempts by the media to actually
interfere with my case to do maximum damage to
my ability to have a fair shot in the legal system. One
such example is when USA Today employed their
"extremism" department, this is a department within


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the news outlet that creates stories about dangerous
conservative individuals, but does not cover any
violent or dangerous left wing individuals, groups,
riots, or acts of terrorism. USA Today's extremism
department ran a story about me having a legal
defense fund that people could support. Within 48
hours, USA Today SUCCESSFULLY got my legal
defense fund shut down, without me having been
able to say a single word in court to state my side of
the story. But the most vicious and relentless media
attacks and sickening false reporting I've received
has sadly come from my own community, the LGBT
community, who hate me for leaving the Democratic
Party. Dozens of disgusting articles have been
written about me obsessively this year to demonize
me. Just one example was a story that came out
from Gay City News the month of my arrest in which
they wrote, "In the days after thousands of right
wingers breached the Capitol building and killed four
of their peers and an officer in the Capitol police
force, Facebook and other social media companies
shut down tens of thousands of accounts, including
a political organization that was founded to
encourage Democrats to leave that party". The
article was celebrating my bans on social media
while also directly implying that I was involved with
KILLING four people and a police officer. Numerous
other articles from the LGBT media have


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encouraged their readers to counter any positive
character letters written in my defense by having
these readers write letters of contempt for me. I
sincerely hope that you, Your Honor, were not
subject to being harassed in any way by these
people in their crusade to punish me for the crime of
choosing to be a gay Republican.

I've lost dear friendships and family relationships
over this case that will never be fixed. After being
released from jail following an FBI swat team coming
into my house, taking my things, putting me in
handcuffs and sending me to a concrete cell with a
metal door shared with a 4 time repeat offender in
23 hour a day lock down (Neither of those 2 days did
I receive my 1 hour of rec time), I spent 4 months
suffering from severe PTSD that prevented me from
sleeping at night, jumping and even running out of
rooms to hide when I would hear a bang or a loud
noise or a knock at my door.

7 years ago, Your Honor, I made a decision,
completely of my own volition, to join a 12 step
program and get clean from drugs and alcohol. I
have maintained continual, uninterrupted, sobriety
for the past 7 years- though admittedly the hatred
and suffering I've experienced this year has
challenged me far beyond anything else I've had to


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endure in my sobriety. I lost my sponsor who I loved
and admired more than anything over my support for
Donald Trump. It's been a challenge to find people in
the program who are able to overcome their own
political antipathy for others who don't agree with
them, and so I've found myself mostly leaning on
other sober people in the program whom I've met in
the #WalkAway movement.

My philosophy my whole life has been to find the
positive in every situation. Even this entire year, as
piece by piece my life has been chipped apart, and
article after article has been written about me
insinuating that I am a dangerous individual who
shouldn't be allowed to function in society anymore­
I have sought the silver lining and opportunities to
transform toxicity into creation, positive growth, and
renewal of perspective, faith, and spirituality. My
philosophy is simply- every situation life gives you,
even the most damaging and destructive, has an
opportunity to win. Find the win in every situation.

In my work with my organization, the #WalkAway
movement, these past 4 years, we've cleaned up
neighborhoods in cities that are run down. We've
done outreach for in need minority communities
across the country. We've stood up for America's
police and law enforcement. Everything we do is in


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an effort to make the world a more loving, peaceful,
unified, safer, and more civil and tolerant place to
live. I've dedicated my life to this work and have
been devastated by having to step back this entire
past year and let this case play out. I just want to get
back to work and move on with my life.

I had a really good life before January 6th. I can
honestly say that that life was completely leveled
and destroyed.

All I'm asking, Your Honor, is that you please be
willing to sentence me only on the grounds of what I
was actually a part of- and NOT based on the
depiction of January 6th that we've all seen on
television. I'm taking ownership for my own
wrong behavior.

I think January 6th was horrifying and disgusting.
But I never went beyond the grounds of the East
side of the Capitol, Your Honor, and I had limited
knowledge of what had taken place in other areas
before I got there.

I should not have gone on the steps that day. And I
absolutely should not have said many of the words I
said that day, mostly because I recklessly spoke



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without full knowledge of the full scope of the events
of that day.

I'm sincerely sorry to all the people of America, even
the ones who absolutely hated my guts long before
January 6th. I'm sorry that I was present in any way
at an event that led people to feel afraid, that caused
shame and embarrassment on our country, and that
served absolutely no purpose other than to further
tear away at the already heartbreaking divide in this
country.

I want to apologize to all members of the Capitol
Police whose safety was put in danger by the unruly
mobs. In particular, the police officer who is seen in
my video whose shield was being taken by the
crowd. No protest should ever get out of hand to the
point of becoming a riot, and no police officer should
ever have to feel that their life or their safety is in
jeopardy while trying to keep the peace at a public
demonstration.

And I want to apologize to every member of
Congress, regardless of political affiliation or
background. I'm deeply sorry and ashamed for being
present at an event that sent members of Congress
running in fear to evacuate a building. I can sincerely
say that I would never intend for such a thing to


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happen, but nonetheless, it did. And I was there. And
I'm truly sorry for that.

Your honor, every year my organization, the
#WalkAway Foundation, engages in a holiday
season initiative to give back to the community. This
year, our initiative is called REFUND the Police, a
fundraising drive to donate money to police
departments around the country who need it most as
their budgets for equipment, resources, and staffing
have been slashed. As of today we have raised
nearly $18,000 for our pro-law enforcement initiative.
The work my movement typically engages in is to go
into minority communities bringing a message of
encouragement for people to see themselves as
empowered individuals, and not as a collectivist
victim class. I believe the #WalkAway events are the
most unifying, diverse, and spiritually powerful
events happening in today's terribly divided culture. I
have spent an entire year staying almost entirely off
of social media, not doing any events, and remaining
a hidden figure as my case has been worked
through. Not working at the capacity that I'm used to
has been torture for me. I desperately want to get
back to work and back to doing positive things for
my country and my community unencumbered by
the nightmare of endless litigation and limitations on
my freedom.


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The lessons I have learned this year have been
intense, and often brutal. But regardless of the
severity of these lessons, I've absorbed them and
learned from them. I didn't listen to my instincts
leading up to January 6th which told me that it was
time to move on from this issue and focus on the
Georgia runoff election that was days away. Instead,
I made a decision to involve myself where I didn't
belong, and now those 8 minutes I spent on the
Capitol steps will destroy entire pieces of my life for
the rest of my existence. That I something I will have
to live with and carry with me for the rest of my time
on Earth, and I accept that. I will also accept
whatever comes next in means of my sentencing
from the Court. As stated previously, I'm just ready to
move forward with my life in a positive way.

I thank you for your time and your consideration,
Your Honor. And I thank you for hearing me today.

Brandon Straka




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#WalkAway Foundation                                                                   ii    www.WalkAwayFoundatlon.ora



EXTERNAL MIEMORANDUM


Date             Deoember 14, 2021
To               Stu Doman
From

Subject          Refund the Police Charitable Initiative
Message:
                  The #WallkAway Foundation, a .501c3 nonpm,fit. has cr,eated a charitable initiative to raise
funds for police departments most impacted by the Defund the Police movement. We've identifi,ed 14cities
whkh received the greatest budget cuts, ranging from $850,000to $1 billion and we intend to donate 75%0,f
the funds raised to another charity that supports.law enforcement efforts in these 14cities.

                We launched the initiativ,eon November 22nd and it will run till December 31. 2021at
12AM EST. As part o,f the initiative, we launched a marketing campaign that has been comprised of email and
social media marketing to reach the hundreds of thousands of foll,owersBrandon Straka has. These efforts will
continue through Dec,ember 31st and to date, we'veraised $15,873.87, of whirch, $11,905.40 is earmarked for
donation.
                 The organization that we've identified to be the best nonprofit,fit to support this initiative is
the Fraternal!Order of Police. They have a national organization in addition to local,chaptersacross the
country. have made 3 separate attempts.to r,each out to them to discuss a large donation,includ·ng outreach
          11



to the National Prresident but I have yet to speak with anyone. Regardless of whether or not we are able to,
have a discussion with the organization, the funds wirll be donated to a 501c3 nonprofit that supporrts law
enforcement.
                 To donate ,or to view the details of this campaign,please go to WalkAwayFoundlation.organd
clickD onate".




                                                 Exhibit B
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7/20/2021

April Russo
Senior Assistant United States Attorney
United States Attorney's Office
555 4th Street, NW
Washington, DC 20530

RE: Brandon Straka

Dear Ms. Russo,

We, Dan and Mary Straka, are writing you to attest to the character of our son Brandon Straka;
and the peaceful, nonviolent disposition he has always exhibited as his normal demeanor.

We are ranchers living in --               I, where we raise purebred Red Angus cattle. Our
family has been part of the        community for generations. We have always been active in
our community, church, and school. Brandon grew up in           as 1 of 4 children in our family.
As part of a ranch family Brandon was active in the care and promotion of the cattle. That
included being a member of 4H from 8 until 18 years of age. From the time he was a young boy
until he graduated from high school he was showing cattle at our county fair and across the U.S.
at state fairs as a means of promotion and sales of the cattle.

As a member of the community Brandon was a student at Saint Mary's Catholic grade and high
school from K thru 12. While attending St. Mary's, Brandon was a consistent honor roll student
and participated in many extracurricular activities. During his high school years Brandon also
held after school and weekend jobs at several           !businesses.

The        community has a group that promotes the community called the                 which
Brandon was a member of thru grade and junior high school. At the same time he was a
member of the local Boy Scout chapter. Pride and respect for the community, and responsibility
have always been a part of Brandon's life.

In,            Brandon's high school class celebrated their 25th class reunion. One of his
teachers relayed to us that while Brandon was home for his reunion he had gone to this
teacher's home and apologized for misbehavior in the teacher's Junior year math class. The
teacher still shares this story and uses it as an example at times when he has an uninspired
student that misbehaves.

After high school, while living and working in Omaha, Nebraska, Brandon was a member ot the
Omaha Community Playhouse for several years and appeared in many of their productions.

In the past few years, Brandon has hosted numerous events speaking out, and being an
advocate for, minority groups including the Black, Hispanic and LGBT communities.




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Brandon has hosted numerous large scale events in Washington D.C. in the past few years.
He's always worked in conjunction with the police and the government in Washington D.C. while
preparing for these events, as he has always made respect for law and government a top
priority, as well as the safety of the attendees of his events. One of these events in D.C. was a
Town Hall to empower women. These events were always peaceful and respectful of the laws in
Washington, D.C.

Brandon's character, integrity and honesty are values he would never compromise. This is not a
biased statement by his parents, we know this sentiment would be echoed by anyone who
knows and has worked with him.

We hope that this letter will help you better understand the truth of who Brandon really is, and
how he has always demonstrated care, compassion, and concern for other people and his
community.




Dan and Mary Straka




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                                                                                   from Venus," Joon Gray




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                                                                                  TOP     WEEKEND OPENINGS
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                                                                ERIC FRANCIS

Buchanan and Brandon Straka star in "The Boy Friend,• opening this week
         at the Omaha Community Playhouse. Page 2.
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BRANDON STRAKA -- Grand Champion and Champion Angus Cow and Calf.


Straka Red Angus & Feed Yard




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July 18, 2021

April Russo
Senior Assistant United States Attorney
United States Attorney's Office
555 4th Street, NW
Washington, DC 20530


RE: Brandon Straka

Dear Ms. Russo:

I am writing to you today to give you insight on Brandon Strakas stellar character. I make no
exaggeration in using the word stellar to describe Brandons character. I have known Brandon
for 3 years after our paths crossed quite coincidentally. Brandon is my employer but more
importantly, one of my closest friends. I have not been asked to write this letter but I absolutely
feel compelled to share my experience.

Brandon has been sober for 6 years and in the last 3 years, I can tell you that the challenges
hes faced would be enough to shake anyone in their sobriety but Brandon has never wavered.
He has been honest and transparent about his addiction and the steps hes taken to ensure his
life stays on a positive track and Ive never seen him falter from that path.

Brandon is a compassionate, determined leader. In May of 2018, he found himself in a position
he never thought hed be in- the leader of a national movement. His message was simple; to
bring unity, civility and love to bridge the political divide in our country. I met him through this
movement as I was feeling overwhelmed by the negativity between the political parties and
needed a community that was supportive. He not only provided that community, he reached out
to me personally and our friendship began. As Brandon and I discussed our passion for his
mission, we grew a tremendous bond and in 2019, I became the Executive Director of his
organization, #WalkAway Foundation

We have traveled the country together, facilitating open dialogue in minority communities to
foster an understanding of differences, struggles and even commonalities. We have led multiple
peaceful demonstrations where opposing sides engage in dialogue and shake hands when they
part. He has been physically assaulted and intimidated and has never lifted a hand in defense. I
have personally seen him wish people a great day after theyve wished death upon him. I have
seen him remain peaceful in the most harrowing and dangerous of confrontations. There is not
a violent bone in Brandon Strakas body.

As a leader, Brandon treats me as a partner. My professional experience has been in the field of
higher education and sales leadership. While I have an MBA, I had absolutely no experience
running a business when Brandon and I met and after a failed attempt to lead a college




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admissions department, I had little confidence that I could ever hold a leadership position again
but Brandon believed in me. He didnt believe in me because of my resume or my education. He
believed in me because he knew he could count on me. He knew that I had a passion for our
mission as much as he did. And with our skills combined, we became a highly efficient team. All
of this is indicative of him as a professional. He prides himself on assessing the whole of a
person. He has a team that ranges in age from 20 to 80, from full time employees to part time
volunteers; from high school graduates to doctors. He values each and every one of them for
the unique skills, wisdom and dedication they bring to the table and moreover, he seizes every
opportunity to learn from each of them. The growth Ive seen in Brandon over these three years
is nothing short of tremendous.

Now let me tell you about Brandon Straka, my friend. You will read many letters from people that
will tell you that he changed their lives. My story is just a little different in that he saved mine.
Just as it was for everyone, 2020 was a tough year for me. As a mother of two children, I was
really struggling with the stress of Covid 19, a toxic political environment, the sidelining all of our
organizations initiatives, and learning how to parent in a world where we werent even sure it
was safe to go outside let alone participate in any of the activities we normally would have. I
began to experience severe anxiety and depression. As a parent, I was floundering trying to
navigate the new learning at home routine and just as much struggling to keep my head in the
game at work. Brandon noticed. The secret was out- I didnt have it all together like I was
pretending. Brandon could have easily demanded that personal problems be left at home (like
other boss have told me) but he didnt. Instead, he immediately shifted gears to take up my
slack and give me the space I needed to get better. He didnt complain about it. He didnt resent
me for it. He listened attentively, checked on me daily offering his compassion and supported
me in my journey to prioritize my mental health- not for a couple of days but for the better part of
a year. If you take nothing else away from this letter, Id want it to be this story. This is who
Brandon is; someone willing to work double time to help and support a friend; someone willing
to wait as long as it takes for that friend to heal and to provide the comfort of ensuring them that
their livelihood will be waiting safe and sound for their return.

In closing, I hope that you will consider the true character of Brandon Straka as Ive outlined
here. He is not the summation of his charges. He is not what the media has reduced him to. He
is a man of compassion, conviction, determination and drive; someone who takes accountability
for his actions and learns from his mistakes. I hope you will give him the opportunity to continue
to grow and make a positive impact in our country.

Sincerely,




                                          Exhibit D
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April Russo
Senior Assistant United States Attorney
United States Attorneys Office
555 4th Street, NW
Washington, DC 20530

Re: Brandon Straka


Dear April Russo:

I am writing this letter as a character witness on Brandons behalf. I am Shemeka Michelle, business
owner, author, life coach and mother of three daughters. I am also a spokesperson for the
#WalkAway Campaign. Ive been knowing Brandon for three years. I was blessed to make his
acquaintance after someone sent him a video I posted online. I not only consider Brandon to be a
successful businessman and great American, Ive come to consider him a friend. Hes actually like
the brother Ive never had.

In 2020, after working with Brandon on several events over a two year period, he asked me to go on
the road with him to rescue America. I agreed. For a few months, this commitment required me to
leave home every weekend. We spent so much time together that his name became a very common
one in my household. Phone calls and video chats while I was with my children allowed them to
personally get to know the man behind the movement. My daughters grew to love Brandon so much!
They began to see him as family and enjoyed the time they were able to spend with him eating,
laughing and swimming in the pool during a much needed vacation last year. As the only single
parent in our group, Brandon insisted that I bring my children, who had also sacrificed their
weekends with mom for the greater good.

It was completely devastating to all of us to learn that Brandon had been charged with crimes. This
is absolutely not in line with the man my children and I have come to know and love. Hes always
been considerate, compassionate and invested in my well being and Ive personally witnessed him
showing this same kindness to countless others. This is why Im praying that hes on the receiving
end of the goodness he so generously gives to others.




                                           Exhibit E
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April Russo
July 20, 2021
Page 2


Respectfully,




                                 Exhibit E
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7/20/2021

April Russo
Senior Assistant United States Attorney
United States Attorney's Office
555 4th Street, NW
Washington, DC 20530

RE: Brandon Straka


Dear Ms. Russo,

I am writing on behalf of Brandon Straka as a witness to his moral character and exceptional
integrity. My name is                 I have been a Pastor, professional business owner and
community organizer for the past 35 years. I have had the immense pleasure of working with
Mr. Straka since June of 2018. I came to know him after offering to assist with the many details
of the launching and organization start up of the #WalkAway Campaign, and I have continued
working closely with him on numerous large projects since then. From our very first interaction
on the phone, we just "clicked" and it was apparent to both of us that we were embarking on a
more than a business relationship, but a special friendship that would act as the foundation of
the work we would do together.

I have worked shoulder to shoulder with Brandon through the hardest of situations and have
personally witnessed his unwavering commitment to do the right thing, even when it wasn't
popular. He has consistently demonstrated sound decision making and honesty is what guides
him in making the most difficult of choices. If I were asked to describe Brandon in only one
statement, it would be, Brandon Straka is a "Truth Seeker" this is at the foundation of who he
is.

Brandon committing a crime is utterly inconsistent with his character. One of the roles that I
have filled during the past year was organizing rallies across the Nation. Brandon's
commitment to abide by the law was clearly evident through his insistence that I obtain city
permits for each applicable event and in every instance to coordinate with local law
enforcement ahead of time. (A sample letter to law enforcement is attached) In addition to
training each volunteer to abide by all laws and provisions of our permit. Brandon's core value
to demonstrate love was conveyed in every training, "DE-ESCALATION, not PROVOCATION is
the expectation." (Copy of the Volunteer Briefing is attached) We directed each volunteer to
respond to insults and resistance from antagonists with "We Love You!" From the first event we
organized together, to the last one, I have watched Brandon lead with love.

At one of the numerous rally planning meetings we held we were tasked with writing the
messaging for the handheld signs that would be provided to attendees to hold. Here are the
statements Brandon contributed that were written on thousands of signs held high by
attendees across the country: #WalkAway Supports Law Enforcement; #WalkAway From
Hatred; #Walk Toward Love, #WalkAway From Hypocrisy; #WalkAway From Violence; #Walk
Toward Unity; #Walk Toward Civility; #Walk Toward Kindness; #Walk Toward Compassion. I
believe these thoughts flowed from him effortlessly because they embody who he is.




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Brandon has lead with courage and has built a legal and ethical organization. From the legal
formation, to its financial integrity, down to the legal/permitted assembly of our outreach
events. I have watched him take the moral high ground rather than the easy path every-time. I
have watched him extend compassion and mercy to those who have spitefully lied about him,
rejected him and attacked him. My prayer is that you will be lenient toward him. Brandon
Straka is a gem, and the world is better place because of him.



With sincerest respect,




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October 2018
Washington, DC




Napa, Ca 2019
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Ohio, 2020




Washington, DC 2018




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Washington DC, 2020




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WalkAwayCampaign.com


Link to #WalkAway founder, Brandon Straka's viral video that started the movement.




Recent Rally in Washington, DC
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   Rescue America Rally Volunteer Briefing
1. Introductions

2. Review Event Slide Deck

3. Review Day of Overview
      a. Roles and Responsibilities
      b. Review One Pagers
      c. Assign Tasks

4. Emergency Preparedness

5. COVID Waivers

6. 501 C3 Status
      a. Do not wear clothing that endorses a political candidate or party
      b. We must protect our tax deductible status
      c. Speakers may not ask for votes or sell merchandise

7. #WalkAway Win and Philosophy
           Our purpose today is to hold a PEACEFUL march and rally to show the
           radical left that they do not own Americas streets and that our country is
           filled with kind, loving, big-hearted Americans of every race, religion,
           background, and creed.
           We will NOT SURRENDER our COUNTRY to violence.
           We are walking toward patriotism and a new, unified America!
           We are NOT gathering to antagonize the left or lower ourselves to their
           devices. We will demonstrate LOVE, PATRIOTISM, and COURAGE in a
           PEACEFUL manner.
           DE-ESCALATION, not PROVOCATION is the expectation. Ample security
           and police support will be present throughout the event in the unforeseen
           event that any resistance ensues.
8. Media
     a. We control our own messaging with our handheld signs
     b. If approached by media

9. Photos with Brandon
      a. Directly after the event at the step and repeat
      b. Do not approach Brandon or any speakers for photos until the end




                                    Exhibit F
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April Russo
Senior Assistant United States Attorney
United States Attorney's Office
555 4th Street, NW
Washington, DC 20530
RE: Brandon Straka



Dear Ms. Russo

I am a PROUD father of seven adult children. I have travelled around the world and across our nation
helping others find their faith and becoming the greatest version of themselves. In 1992, I was eighteen
years old and homeless. Sleeping on the streets of Atlanta, I saw the cruelest aspects of humanity as I
was beaten, robbed, and literally urinated on. I just wanted to die but God gave me a second chance at
life, and I refuse to squander it. Holding to my faith, I extend the same courtesy to Brandon, but I DO
NOT SUPPORT THE EVENT ON JANUARY 6th.

Over the last three years I have gotten to know Brandon, became friends and even see him as a brother
in Christ. I enjoyed working with him in 2020 speaking to millions of people about our love for America
and freedom. This love crossed over all divisions (black, white, gay, straight, etc.) and is the root to
conquer the darkest elements in our country. My proudest moment was when I prayed over Brandon in
front of a large crowd in 2019, and he said that for the first time he is opening his heart to seek God.
That was a beautiful moment.

When I got the news that Brandon was allegedly involved in the events on January 6th, I was shocked,
appalled, and disappointed. The man I know has the passion to do what is right for our country. The high
character he has displayed to me when he spoke to the LGBTIQ+ community about embracing America
was powerful. I was further impressed when he reached out to the black community in Atlanta stating
how relevant our vote is in the political process. Im mostly impressed by his courage when some BLM
activists chased him and tried to take his life while screaming homophobic slurs. Their actions were
despicable, but Brandon continued to believe in America, stayed positive and courageously pushed
forward.

Let me be clear; I condemn the 2020 BLM riots last summer and I equally condemn the 2021 storming of
our nations capital. These actions are WRONG regardless of race or political affiliation. They are divisive
and do NOTHING to bring us together as a country. I am aware that in the future people may use this
letter against me politically, but as a man of faith, I believe in giving second chances to people that learn
from their mistakes, change their behavior and are willing to serve their community. Brandon is my
friend; he has humbled himself and I will not turn my back on him.

Ms. Russo, I am asking you to give Brandon leniency. We have ALL made poor choices and our futures
are uncertain. I think we all hope that if we ever find ourselves in trouble, that we can have at least one
true friend to speak for us. NOT excusing our behavior, but willing to stand in the gap for us when it is
hard, and the personal cost is high. I believe that if Brandon was involved in this action that he is ready
to make amends. THANK YOU so much for your time and attention. I appreciate your service to our
country, and may God bless you and everyone you hold dear.

Sincerely,




                                             Exhibit G
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November 13, 2021


RE: Character Letter


Your Honor,



I am writing this character letter on behalf of Brandon Straka. I ran into one of his videos back in
May 2018. I loved his message and looked for him on social media. I started following him and
saw that he had an event in Riverside, CA. I decided to go to his event on 08/30/2018 to meet
him because people were saying that all members were bots. V\hlen I met him, he was kind,
sweet, loving, and sincere. He had a plan to bring unity and love and bring people from all walks
of life together. I decided to keep following hi,:n on his social media because his message was a
breath of fresh air. I then decided to help on two of his events in Los Angeles, CA in May 2019.
I saw him conduct himself in the same honorable and down to earth self. His events were open
to all whether they agreed with the message or not, he wanted to hear their side to understand
their views on a particular subject. As time went by, he always stated that he did not want anyone
to be negative or any of his foundation volunteers to conduct themselves positively. I had friends
who were volunteering and told me as much. He wanted to welcome everyone to his foundation.
He never had an incident of poor behavior and never conducted himself in poor taste. He always
advised that he did not want to do anything inappropriate. He always had rules in place to ensure
we all conduct ourselves honorably. Therefore, I continued to follow him on social media. As he
grew, his events were taking him elsewhere and I attended another even in Riverside, CA. Again,
there were no discussions of hate and only spoke of unity and love. I admire Mr. Straka for his
dedication to his foundation and ensuring that people be kind to one of another and bring love to
the world. Brandon Straka= Love and peace.




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                                 Exhibit I
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November 13, 2021



TO:           Your Honor, Presiding over the case of Brandon Straka

FROM:


Purpose:      Character Statement IFO Brandon Straka



Your Honor,

I am taking the time to write and asking you to take into account my statement as
you consider the sentencing of Brandon Straka. As a former officer of the court, I
swore to uphold the law in the execution of my duties as an Investigator. This is
my statement:

I have followed Straka almost from the beginning, as he began his efforts to
convince others of his sincerely held beliefs. I looked into his disclosed
background, evaluated his stated mission and believed him to be sincere and
forthright. I also believe he is a strong believer in law enforcement and supports
the judicial process.

Additionally, I have been fi ancially supporting his efforts for over one year with a
monthly payment to hi 501 C corporation to assist him in carrying out his stated
goals, from which he has not strayed.

Brandon is strong of character and will and I expect he will persevere once this
phase of his Ii·e is complete, and after having received and completed a fair and
just sentence from Your     onor.

Regards,




                                    Exhibit J
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                                  11/15/2021


My name is                        , I'm a female, naturalized US citizen, and I feel the
motivation to write this letter in behalf of Brandon Straka, who I haven't met in
person, but who I have followed in social media for about 3 or 4 years now. I'm
writing this letter because I feel sincere appreciation and dearest affection for
him.

Without going further, please forgive my typos. l.'m Hispanic from origin and
English isn't my mother tongue. I hope I can convey this letter perfectly, but it's
highly likely I won't.

One of the reasons I liked Brandon's message is because his video was not oolv
very professionally done, but impeccable. He was simply saying what many of us
wanted to say or were thinking. Naturally, I identified with him and his message
because now it was mine.
I know Brandon will succeed everywhere he goes and he will continue to embrace
with positivism and truthful messages to his clients, friends, acquaintances.
Brandon is a brave man, he is loving and had been able to unified us all. Who are
we? Many of us! It's quite a large spectrum.

Brandon not only earned my respect but a'lso my sincere appreciation and care.

Brandon loves God, loves people, loves America, love the American people.

I'm certainly looking forward to see him shining and succeeding on his next
project, career and endeavors.



Sincerely,




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November 11, 2021


Your Honor,
I first met Brandon Straka in January of 2019 for the first time at Conservative
Political Action or CPAC Conference in National Harbor, Maryland. I found him to
be just a great guy who was not only highly intelligent, but highly observant. I
also quickly learned that he was forgiving and very kind.
During the CPAC Conference I was working as a volunteer at the #WalkAway
display/table. While I was volunteering, Brandon came downstairs for his
scheduled Meet and Greet time. I had seen him online before, but had never met
him in person. I thought it would be fun to take a selfie with him, which I
surreptitiously did without his permission. (It must be scary when random people
make approaches in open-access events.) Because the selfie didn't tum out well,
I made a second attempt an hour later.
On the second selfie attempt, Brandon immediately recognized me from my first
attempt. He eyed me suspiciously, perhaps questioning why I was making a
second attempt when I had already taken one with him. I was one of over a
hundred people in that conference hall that day. I had hoped that Brandon had
forgotten me. I was shocked that not onJy had he remembered my wiley behavior,
but was gracious enough not to scold me for not standing in line like everyone
else. He smiled, let it go and took a great selfie with me.
Selfies taken, Brandon hung out at the #WalkAway display table to engage with
anyone who had a question or wanted to talk. He was very interested in every
detail of the WalkAway display table. Did the volunteers need anything? Were we
having a great time? What brochures were we giving out? Which brochures and
sale items were the most popular? Brandon missed nothing and was not above
speaking to anyone, myself included. He spoke with each person as if they were
the only one in the room. He was laser-focused, affable, kind and very much on
point with all of his facts.




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A few months later, I had the opportunity to meet Brandon again in Annapolis,
Maryland at a different event at our State House. There, Brandon remembered
me again. I couldn't believe it. CPAC was jammed with people and at this second
event, he was not faking a recollection. He just has that kind of observant brain
that fastens onto details and is able to utilize them when necessary or
appropriate.
I have been a school teacher for over four decades and can recognize great
intelligence when it is before me. Although my contact with Brandon hasn't been
frequent, I can see what I see. Not only is he highly intelligent, but he is not proud
about it. r find these qualities to be more and more a rare combination in 2021. It
was refreshing to find these qualities in such a young man. {I am old enough to
be Brandon's mother.)
Brandon is an affable, wonderful human and I highly recommend his wonderful
character and good name.




Sincerely,




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November 13, 2021




ATTENTION: YOUR HONOR!
REGARDING - BRANDON STRAKA


I am writing this letter to let you know of the character and credibility of Brandon Straka
whom I have observed for a long time now. I have been watching and listening to
Brandon for well over two years, if not more, and have been incredibly impressed with
who he is. I am thankful for his life and how he has affected me to be all I can be and
fulfill my God-given calling. Whether it is acknowledging and supporting our police
officers or bringing diverse groups together to share and understand one another, or
telling all to do what is right and take theuhigh road", he has been tenacious. His love
for people and this country is contagious and has been outstanding and obvious to
those who know him and have been touched by his life. I am one of those people.
have only heard good, truthful and uplifting words come from him. Words that
encourage, support, and give hope to me and others for a brighter future. He
exemplifies honesty, kindness, loyalty and much more. There is no one that I would
rather have on my team than Brandon Straka. He is a uniter, lover of people, and an
outstanding person.




                                       Exhibit N
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 ovember 13, 2021



Your Honor,


I would like to take this time to write a character letter on behalf of Mr. Brandon
Straku. I have be..,n following Mr. Struka for appl·o dn-Lately two years (maybe
more) on tel vision and media and have always lmown him to be a very uplifting
and positive person. This is what initially drew me to him because of his positive
message of love, support, and inclusivity of all.

He, like me, does not believe in division and hatred of others. I've witnessed him
to be a peaceful person and always in support of law enforcement; encouraging
others to back the blue in lawful and peaceful demonstrations. I am also a
proponent and supporter of law and order as is Mr. Straka.

Mr. Straka has continually demonstrated to be a peL· on who loves his country and
supp01ter of free speech and the first am ndment. rrom his video testimonials that
I have personally watched, he has turned his life around from being dependent on
drugs and alcohol to becoming a political commentator and entrepreneur and a
positive contributor to society.

I look forward to seeing hi1n succ ed in the next chapter in his life and a continued
change for good in our country.


Sincerely,




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Your Honor:

I'm writing this letter to show my support for Brandon Straka.
discovered Brandon a few years ago on social media. I was
immediately taken by his deep love for our country. He has always
been positive, uplifting, encouraging and a strong advocate for the
basic rights of all human beings. Like me and so many other
Americans he is a strong supporter of law and order and has always
been supportive of our police officers. I have never once heard or
known him to provoke any type of violent activity. He promotes
peace and fairness for all.

Brandon is thoughtful, trustworthy, kind and I'm proud to call him a
friend and a wonderful human being.


Sincerely,




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                                                           11/16/21



    You're Honor,

    I have followed Brandon since the beginning of his walk away
    movement. His initial video was very moving and a call for people
    of all stripes to open their eyes to the way media deceives us. It
    was a call to walk away from the democrat party because of
    deceptions also.

    Thousands upon thousands of members, including me, gave our
    testimonies on how it is OK to be conservative, and to have
    conservative values even if you are black or brown, gay or
    straight, trans or anything in between.

    Brandon made a community of respect for each other, in spite of
    our differences.

    I am a Christian conservative! Still I felt right at home among the
    diverse walk away community.

    Brandon encouraged love and tolerance for each other, and a love
    for the place we call home too, America.

    Brandon's call was we all belong, and we are all in this together.
    We don't have to take sides and hate and divide over the
    differences that we have. We can unite as humans in America.

    Thank you for taking the time to read my letter.

                                           Sincerely,




                                Exhibit S
   CaseCase
       1:21-cr-00579-DLF  Document
            1:21-cr-00579-DLF      32-5 *SEALED*
                              Document               Filed 12/15/21
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Your Honor,

I am writing this letter today to let you know the Brandon Straka that
I have known over the past 3 years. I have followed the Walkaway
movement since 2018. I was so impressed with Brandon, and his
ability to get his message across with love and kindness. He has been
a huge supporter of our men and women in blue, as well as the black
community. Any of his videos, and speeches will attest to this fact,
and all can be found on Youtube, unless they have been removed.

My husband and I have attended several rallies, led by Brandon, and
again, he has always been respectful, and loving in his messages,
even when he encountered hate and hecklers. I truly don't know how
he kept his cool.

So impressed were we, that we decided to celebrate our 35th wedding
anniversary at the 1st annual Walkaway Gala. There, we met
Brandon, and many other people who were passionate about getting
their message of love and acceptance across. He has worked
tirelessly, despite a myriad number of obstacles, to make this country
a better place.

Thank you for taking the time to read my letter.

Respectfully,




                                    Exhibit T
         Case 1:21-cr-00579-DLF Document 56-2 Filed 01/18/23 Page 81 of 115
-   case 1:21-cr-00579-DLF Document 32-5 *SEALED* Filed 12/15/21 Page 11 of 44




    Your Honor,

    I am submitting this letter on behalf of Mr. Brandon Straka.
    first became aware of Mr. Straka through his "WalkAway"
    movement. I was taken with Mr. Straka's calm, thoughtful and
    peaceful approach towards making a difference in this world.
    Through Brandon's video diary, I was able to follow his
    metamorphosis and concern for his fellow human beings. Little
    by little I became more interested in his approach to make a
    meaningful change for the better by exercising his rights.             Mr.
    Straka's message of love and acceptance began to attract many
    followers- my wife and I amongst them. So taken were we that
    we attended the first annual WalkAway Gala in Washington,
    DC - May 2019. Here we were able to interact personally with
    Brandon and found him to be as expansive, voluble and warm
    in person as he is in his videos. The entirety of the evening was
    dedicated to improving our country and the mantra of
    inclusiveness; truly a big tent approach. Subsequently, my wife
    and I attended several rallies in the Washington, DC area and its
    surrounds.     Each of these gatherings was a momentous
    occasion filled with optimism for the future, love of country,
    inclusiveness and marked always by a message of peace. Our
    gatherings always recognized and thanked law enforcement
    and our military, and were conspicuous for the absence of
    detritus or violence left in their wake despite the great
    numbers in attendance.             Brandon delivers his message


                                  Exhibit U
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fervently and with passion but always without violence or
malice. I would urge you to seek unadulterated, raw footage
from any of his gatherings or review his video diaries to truly
appreciate who Mr. Straka is.

I thank you kindly for your taking this statement into
consideration on Mr. Straka's behalf.

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Your Honor,

My name is                   I am a supporter of
Brandon. As a Black man I feel that he has always
shown good character and is willing to have a
productive conversation with anyone.
Please give him an opportunity as I gave him an
opportunity.




Sincerely,




                                  Exhibit V
  CaseCase
      1:21-cr-00579-DLF  Document
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                                                                                        November 15, 2021



Your Honor:

It is with the utmost respect that l write to you today on behalf of Brandon Straka.

Albeit among the "political" storms in our country, I want to share with you the impact he has had on
my life that, ironically, has nothing to do with politics at all. He's brought to me, and many others, a
newfound hope in humanity.

There are so many of us who struggle with the weight of despair and worry, and feeling absolutely
discouraged about our community and our relationships among our diversity-all aspects of it, whether
it be ethnically, or our views on societal issues. Brandon's led us out of that desperate place over these
past years with his integrity, honesty, and compassion. He's led us through his experience with his own
darkness and overcoming terrible times in his own personal life.

He's a good person and he loves his fellow man. It's pure and very true.

He's an asset to our country and I know he will continue to make a difference in a positive way that will
be immeasurable.




                                             Exhibit W
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                                                                           November 15, 2021




Your Honor,

Probably five or six years ago I saw an interview of this sweet man (Brandon Straka) he was
explaining he left being a hair dresser after watching video's that showed another side to the
events of the day he realized his political party had left him. He started a community called
#WalkAway. I joined as a #Walkwith to support his passion to bring together every type of
American of every race, religion, orientation, lifestyle, and background to unify to create a more
loving, peaceful, tolerant, communicative, and patriotic America. That message touched my
heart as much as his kind heart which he wears on his sleeve. Throughout the years of positive
outreach #Walkaway has done to support the black, Hispanic, and LGBT communities it has all
been peaceful and good. He has put his energy into positive and calming focused to bring
together all peoples. Brandon led 2 major Marches on Washington in which his amazing team
worked hand in hand with all the Washington DC police departments. Brandon has always
displayed his respect and love for our service members and police. He ALWAYS backed the blue.
And even now he backs the blue. #Walkaway made sure to reach out to the police and let them
know law enforcement will always be supported by Brandon and his peace loving followers. We
stood with them in the face of a political movement to demonize and defund them. Your
Honor, Brandon is the opposite of a terrorist; it would never enter his mind to break the law or
to support violent rioters. I am 62 year old wife and mother of three amazing men and Brandon
reminds me of how good parenting can bring up great men and patriots. He would make me
proud to call my son. He is truly a great man. I have received emails from Brandon since the
beginning and know his heart, he is a special man.




                                         Exhibit X
CaseCase
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November 14, 2021



Re: Character Reference: Brandon Straka



Your Honor:



I have a history of public service for the State of Georgia since 1977. I began working as a Court
Service Worker for committed Juvenile offenders in                        and then as a mental
health therapist for a therapeutic foster care program in·                          I I am currently


in private practice in

In my tenure as a civil servant, I became gradually aware of the limitations of the government. I
searched YouTube to see if any of our minority young men and women were beginning to
question the efficacy of big government. During my search, I saw Mr: StfaRa's first vide o ---------- ­
announcing that he was walking away from the Democratic Party and starting the WalkAway
Movement.

While I do not know Mr. Straka personally, I want to attest to the integrity of this young man,
who has sacrificed much. Now, he faces loss of liberty for standing up for what he believes,
truth in media and freedom of regress

Your honor, I hope that you had carefully review the integrity of this young man, who has
grown in character and has overcome personal obstacles to become the man he is now. I
believe our country is truly blessed to have such a patriot.



With deep sincerity,




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November 14, 2021




Re:     Brandon Straka
        Character letter



Your Honor:

I've never met Brandon personally, however, the impact of knowing him and following his WalkAway
organization have enhanced my life tremendously. I have a daughter and stepson who are both gay
and, as my husband and I are Christians, our relationship with them was very stressed after they
revealed this news. Sharing Brandon's video opened up dialogue that would not have happened
otherwise. We still disagree on many things, including political views, but because of Brandon's
influence and honesty about his life and views, a bridge was created allowing communication we had
struggled to build.

When I first saw Brandon's videos, his passion for being an example of positive change within our
country was inspiring. The people he surrounded himself with were diverse in personality, background
and ethnicity. I never remember a time that Brandon encouraged or supported violence. In fact, my
memories were of him sharing how he had to work through rejection from many (including immediate
family members} when he started WalkAway and how he welcomed discussion with those who disagree
with him.

It is my hope and prayer that the courts will recognize and acknowledge Brandon's outstanding
character and make your decision in his favor.

Respectfully submitted,




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Your Honor,

Brandon Straka is a young man who has turned his
life around for the better. He has brought people
together no matter what the race, age or gender.
I relate to him because we are both hairdressers
from NYC. He is smart and kind - a good man. I
consider him a friend and I wish him peace.
Please see the good he has and will continue to
bring to people and the world.




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               Your Honour,


               I'm writing to share with you my whole-hearted endorsement of Brandon Straka. I've
               known him and been an avid supporter of Walkaway since its inception in 2018.
               Brandon has gone above and beyond his call of duty to help a large group of people that
               are politically homeless.


               He has successfully built an organization of passionate supporters that continue to stand by
               him through challenging times.


               Brandon has proven to be an exceptional leader, always optimistic and encouraging to
               thousands. His positive attitude and friendly behavior are contagious.


               During the summer of 2019, he traveled the US rallying his supporters, and non-supporters,
               putting on events that included noteworthy speakers.


               All in all, Brandon, is someone with integrity and character. He is not only self-motivated
               and friendly, but also highly skilled and competent in all his efforts.


               He is a valuable asset to humankind!


               Regards,




                                      Exhibit BB
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November 13, 2021



Your Honor,

I don't know Brandon Straka personally. I know him only through his presence online and
speeches I've heard him give.

I believe him to be a moral and caring person. He has dedicated years to standing up for people
who are misunderstood and often demonized. He has worked hard to encourage those who are
afraid to speak up for themselves.

Personally, he and his organization have made a big difference for me. When people disagree
over something about which they feel strongly, sometimes they will resort to questioning the
intelligence, morality and humanity of those with whom they disagree. Hearing someone who
was a friend call into question my intelligence, my morals and even my right to exist during an
political argument left me demoralized. His encouragement, even lf it wasn't directly aimed at
me, really helped me.

I believe Mr. Straka to be a good person.




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Your Honor


Re: Brandon Straka

I've been a political junkie for over 50 years and during the past
two elections I was on social media following many different
people. I discovered Brandon Straka and saw a video of why he
changed political views. I was so impressed to finally see
someone explaining their new views in such a calm and open
way. He invited open discussions and that was very rare during
this time. He never wanted to argue, just wanted to have an open
dialog. How refreshing I thought!

In all of my 50 plus years of following politics he was the first
person who discussed his new views with love. He has an
amazing testimony of how he turned his life around from drugs
and alcohol.

His attitude actually helped me from getting into angry
discussions with friends who were total opposites of me
politically. I discovered through his calm personality that we
                               lgree, agreeably".
                                   "




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November 14, 2021




Your Honor,

Please allow me to present my testimony for Brandon Straka.

He is such a decent, intelligent, caring, loving individual. He has shown hundreds of
thousands of people, of all origins, faiths, beliefs, races, etc, how to live a strong, positive,
confident life. Traveling America to give so many uplifting, inspirational, powerful speeches
about love, not hate, about being strong, not weak, and being peaceful, not destructive.

For me personally, he has shown me how to be more understanding, caring, and giving to
others. Also, he's led the way to being more Patriotic, loving life, liberty, and the pursuit of
happiness in better ways than I could ever imagine. And realizing that the truth matters!

Mr. Straka doesn't even know how much he has personally helped me in starting my own
business, giving me the confidence to write and live out my dream of being a home business
owner. It's because of him, giving me the strength and confidence just by listening to him,
reading his words, and knowing how much he does to promote all things positive in life, that
keeps me going.

Among so many challenges, the hatred, demonizing, outright lies about him, even threats, Mr.
Straka remains a strong Patriot who is to be admired.

He has reawakened the passion for loving this country and not hating it!

Thank you for taking my thoughts into consideration.




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                                        ovember 14, 2021




To: Your Honor
% Brandon Straka




       RE:    Brandon Straka

Dear Your Honor

        I am writing this letter to you on behalf of Brandon Straka in order to show how much
Brandon has made a difference in my life. Brandon has brought together a group of people who
have felt misunderstood socially. Free thinking people who do not be]ong to any religion nor
political organizations. People who just want to be accepted and get along with their law abiding
neighbors regardless of their lifestyles.

       1 was one of many who joined Brandon Straka's Facebook page, #Walkaway in 2017. I
loved reading his followers' posts and watching their videos as well as Brandon's videos.
Although T have been a moderate conservative all my life, I enjoyed sharing stories with people
who came from a very liberal background. We all supported each other by sharing our life
changing experience . Brandon showed all of us that no matter what race, gender, ethnicity or
sexual preference you have, we can all get along respect one other and share this planet without
discord.

        I miss the social media family (thousands) Brandon brought together where we all shared
stories and supported each other on a daily basis.

       I respectfully ask that you take in consideration how many people love and care about
Brandon not only because of his bubbly personality, but because Brandon represents so many of
us who only want unity, no descrimination of any kind and be able to live in a free world without
discord.

                                     Respectfully,




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Your Honor,

Although I don't know.Brandon personally.,I can honestly sav- he has influenced my life in-the
past few years.

I discovered him during the 2016 Presidential election. I was very disheartened by the way
people were treating each other in online comments. Brandon's Walkaway Campaign was a
!Jr-eflth-cf fresh air. He-and his followers werse true patriots, 1:1plifting--and enrnuraging.

I have family members who are gay. Brandon is a gay, conservative male. What an inspirationI

I have family members who are drug addicts. Brandon beat addiction and found great meaning
arrd purpose-. Agairr; what-an in::.f.Jiratton!

His platform allows people from all walks of life to express their viewpoints in a safe and
nonjudgmental environment.

i have seen his videos, listened ro his speeches, heard his testimony and read his emails.
Nothing changes my belief that he is who he says he is - a man of integrity and honesty, who
sincerely loves his country.

Respectfully,




                                        Exhibit HH
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  November 14, 2021

  Your Honor:

  Re: Brandon Straka

  As a Canadian, father and grandfather, I have followed Brandon for the past 5 years and
  appreciated all he has done for me and to lift the lives of others in so many positive ways. I
  have benefited from the example he has shown, not only by his words and actions but from
  the testimonials of thousands of other men and women similarly affected by his wisdom and
  positive leadership.

   If I could wish for a son to be a model and inspiration for others, he would be just like this
  fine young man.

  Our prayers are for his continued valuable and productive future for us to benefit and enjoy.




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Your Honor,

I would like to say a few things about Brandon Straka.

Well over a year ago my husband and I had the opportunity to hear him speak at an event here in
Annapolis, Maryland. He is positive, hopeful, kind, and funny. He spoke on some issues we are
concerned about, yet he did not promote any hate or anger towards those who were causing the issues.
We came to the event feeling discouraged and hurt by what was going on around us, but we left feeling
encouraged - mostly by what Brandon said.

Shortly after that I started following him on social media. I learned that he wants to educate people on
the issues and encourage them to see the facts for both sides. I also learned he continues to be kind no
matter which way a person decides to believe (or how badly they treat him).

Thank you for taking the time to read this letter.

Sincerely,




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November 15, 2021
Re: Brandon Straka


Your Honor:
I have practiced law in the State of Oklahoma for 40 years and am the
managing partner for one of the oldest firms in the State. I have spent
my legal career and my adult life maintaining my good reputation in the
legal practice, as well as that of my firm. I would not associate with
anyone who was dishonest, untruthful or dangerous.
When Brandon Straka made his first WalkAway video, I was moved by it and
began to follow him on social media. Then two and a half years ago, I
joined the group as a volunteer, helping to moderate social media
accounts, including Brandon's personal Facebook account. I don't have a
high level in the organization structure, but have had the opportunity
to read every post he has made on social media for the past two and a
half years. I have never seen anything that would be in the least
objectionable and have found Brandon to be a passionate and committed
individual where his country is concerned. Another of my observations
as a moderator is the vast number of good solid Americans Brandon has
brought together through WalkAway. They are of every race, age,
occupation, color, orientation, nationality and religion.
Since I began to work with Walkaway, I have regularly attended meetings
with Brandon and the group. He communicates often with group moderators.
He is a model leader and a great businessman and communicator. He has
been an inspiration to me and thousands of others. There is nothing
dangerous, subversive or violent about him.
He has organized events all over the United States, often giving a voice
to groups of Americans who aren't heard. I have had the opportunity to
attend some of these events and to meet and see Brandon in person. He
is exactly as I expected him to be. At these live events, as well as in
the comments on his social media, it is very apparent that he has always
been, and continues to be, very supportive of law enforcement and police,
We have always had an excellent relationship with them at our events.
In turn, they have been supportive of our group.
Please accept my high recommendation of Brandon Straka. If you have
questions or require additional information, I hope you will contact me.




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                         Exhibit LL
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                                                                           November 15, 2021


FROM:




TO:

Brandon Straka
Attn: Your Honor




RE:     Brandon Straka's Character



Your Honor,

A few years ago, I heard about Brandon Straka through the Internet. I researched him, I
contacted him, I met him in person and I ultimately worked for him. Brandon is an upstanding
Citizen with good morals and a hi,gh-level of integrity. I've never seen anybody working so hard
in order to united people from ALL walks of life. Brandon is not only a champion for minorities,
but he's also a champion for common sense and the rule of law. If more people would be like
Brandon Straka, the world would undoubtedly be a better place.

Best




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Your Honor,

I attended a gathering in Washington, DC, called "Unsilent'', because I was curious about this young
man, Brandon Straka, who was the driving force behind arranging it

What I saw there were men and women of all kinds, ethnicities, and colors, welcoming each speaker
with cheers and applause, regardless of his/her color, background, or orientation.

When some outsiders tried to disrupt the gathering, the police acted immediately and appropriately to
remove them, to cheers from the crowd and from the stage of "Back the Blue!" All were very
appreciative of the quick response and expertise of the police, and the gathering continued peacefully.

I am still amazed at Mr. Straka's growth from an unknown NewYork hairdresser to a courageous
leader of a national movement dedicated to truth, respect, and love of fellow human beings. His
message to "walk away" from hatred, bigony, and denigration of any person or group resonates with
me and with thousands of other Americans - and his activities demonstrate that message to any and all
who will listen, regardless of age, color, belief system, etc. It i.s one that all should hear.

Sincerely,




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YourHon r
       The following lett_r i in r gard to Mr. Brandon traka. I first came aero Brandon s
work on In tagrarn around two year ag . l admired hi work and spirit The video he cr ated
and mail       nt out hav encourag d me and countle other Am rican in our que t to
 tr ngthen our nation. N t nly Brandon directly, but the fruit of hi labor in creating the Walk
  may campaign has helped change the mi.nd of countle:     citizen t become mor con ci ntious
a_nd patriotic 1ncrican .
        While the internet d    er ate a divid betw n p oplc you do not me t· I have followed
t11any people political and therwi e on ocial media or on emai1 li t . S m ar ju t ok       omc
becom di ing nuou over tim a fame and ucc             come. Brandon is one of the few people,
       life and career T have re pected and admjred during the cha tic la ·t few year . He i an
up tanding c·tizen and a geou:i.oe roan with a heart for people. he community and thi country
ar be t served with Brandon leading p op]e and changi g heart and mind .
          incerely




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Brandon Straka




This is my statement of support for Brandon Straka. I am a heterosexual male, married to a wife from
the Philippines. We have two children. Our son is attending UCSC to learn to become a data scientist
with skills in cognitive psychology. Our daughter is one of the best in her junior high school class with
hopes to become an artist. We do not support discrimination of any surface issues which include race,
sexuality, and physical appearance, et. al.

I became aware of Brandon when he launched the walk away movement. I learned he was a former
supporter of Hilary Clinton and the Democrat party who learned on his own that they did not have his
views on freedom, and he formed the walk away movement to help others like him to disengage from
the totalitarian ideals people like Hilary Clinton and the Democrat party held. I followed Brandon
because he was effective in changing minds from a side that claimed allegiance to issues that concerned
him. Brandon was so effective; he earned my respect.

In all the appearances that Brandon made on television, social media, and public forums, he never
advocated for violence of any kind. He appealed his side with vocal debate. He wanted others who had
thought like him in prior years to change their minds, not destroy them. He has been passionate, strong,
and unrelenting in his appeal, but he never raised a fist or a physical threat to those who disagreed.
Brandon is a man I respect.

I do pray that Brandon continues to be the happy warrior I have grown to love. He has shown to me that
he's worthy of my family's blessings, respect, and love, and I can only wish there were more men and
women like Brandon who can show all of us how we all can contribute to this great nation of ours.
Brandon is not just a remarkable man. Brandon is a remarkable human being!



Sincerely,




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November 14, 2021

Your Honor,


I am writing this letter to you in regards to Mr. Brandon Straka and to tell you my perspective of
Mr. Straka and his character.

For the past few years prior to November, 2020, I had the pleasure of following Mr. Straka on
Facebook and his Walk Away page. This page, as you may or may not be aware of, was filled
with testimonies of people who walked away from a political party they no longer agreed with
and also held testimonies from people who always "walked with" this certain political party. It
was a page filled with positive comments and support, especially from Mr. Straka, for people
who decided to make this move.

Up until finding Mr. Straka's Walk Away page, I had never even heard of him. I was so intrigued
because I seriously doubted anyone was this caring, this energetic and this positive about
something he believed in. But as I continued following Mr. Straka and then joined his email list,
I realized that he truly is this wonderful person.

Now, a year after having his Walk Away page removed from Facebook (for reasons I don't
understand except to think it didn't align with other's views), I am hearing Mr. Straka being
labeled as a terrorist, an insurrectionist, and also a violent rioter. It is truly baffling to me and I
realize that these people who are labeling Mr. Straka must not know him at all.

From my time getting to know Mr. Straka through social media, I have seen a man who is full of
love, patience and forgiveness. I have come to learn that he is a "recovered" person who has
positively changed his life and wants to help others do the same. I have also come to learn that
he is a true patriot who loves his country and wants nothing but the best for it and those who
live here. He is a family man and a loyal friend to those he references. He is a businessman, an
entrepreneur, and an artist who passionately expresses his views in a creative, positive way. He
also always speaks highly of police officers and speaks often of how he "backs the blue''. But
what is really astonishing is that even those who have opposing viewpoints are loved and talked
positively by Mr. Straka. Where most of us would not blame him for hating those who talk
negatively of him, he continually expresses concern and love for everyone ..... not just those
who align with his ideas.

Now, you may be thinking "how can someone give a character reference for someone only
known through social media?" And that question is a good one. But we all know that the
longer you are on social media with someone, you eventually get an inkling of who that person
truly is. We can not pretend to be someone we are not 100% of the time. But I can honestly
say that the years I have followed Mr. Straka, he has never swayed from this character I




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described above. Not once have I noticed anything negative, anything violent or anything
hateful. He has kept constant on being a positive force and has kept his movement the same.

I felt compelled to write this to help with Mr. Straka's battle that lies ahead of him. Please take
into account the person who is being accused of such horrible things. I can honestly say with all
my heart that the man that is being accused is not the man he truly is.

Thank you for taking the time to read this letter. I pray that the outcome of the days ahead is
what Mr. Straka deserves. Not only does he deserve it but his friends, family, supporters and all
American citizens deserve it. He is an asset to this country and, right now, we need more just
like him.

Sincerely,




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Brandon Straka




To whom it may concern:

As a 60-plus year-old I watched Brandon Straka step into the public square with energy,
encouragement, and civic respect. His singular message to all audiences has been: As
Americans, we're in this together and there's a place for each of us. He has unveiled his
story and given each of us the chance to do the same. WalkAway is a grass roots
endeavor open to every demographic group. As a WalkWith {lifelong Republican) I
appreciate the opportunity to learn from former liberals/WalkAways.

Through 2021Mr. Straka has mostly been quiet and absent from us. His occasional
written messages have been singularly encouraging and called for patience and good
civic behavior.

Having watched my own downtown, Portland, OR, be materially degraded, probably
permanently, with statues destroyed, and African American businesses and
neighborhoods terrorized; I believe it is time for the government to settle any remaining
issues with Mr. Straka in an expeditious manner and with respect for the larger context
of what has happened in our country.




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November 14, 2021


To Whomever it may concern,
RE; character reference for Brandon Straka


There are people you meet- rarely- who are solid and true-blue, who have a love of life and
other people and want to help move things forward for the benefit of everyone; Brandon
Straka is one of those kinds of people. I doubt there is a mean bone in his whole being- he
radiates good will, positivity, and love of others and has done everything in his power to
promote goodwill among all people, including between the people and the police all over
the country when others were screaming out to defund them, those who have joined his
Walkaway Movement, and American society in general to make this a better country. And
he does it all, even through the turbulent times of this last year, with a sense of humor that
makes the day better just from having heard from him. He has a happy disposition that he
shares with the people.


Brandon is a good human and we should promote all the good people we can because
they, unfortunately, are rarer-by-far than those who just don't care. Brandon cares and I
believe he just wants to live his life of doing good so that other's can benefit by living the life
they choose also. That's it; he's one of the good guys and I would put all my trust in such a
person.


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November 13 2021




Brandon Straka



RE: The Character of Brandon Straka

Dear Your Honor,

My name is                    I live in                  and am very active in my
church,,            here in                  . We are 10,000+ strong.
           ------




I first learned about Brandon and his #WalkAway campaign several years ago
when I saw him on an episode of Governor Mike Huckabee's show, Huckabee
which airs on Trinity Broadcasting Network. I was very impressed with Brandon,
so I began following him by logging onto his website, getting on his email list and
watching him on Facebook.

Over the years, I have studied Brandon very carefully and have observed him to be
a very smart, articulate, sincere, and passionate person. He is very consistent in his
messages and beliefs; I am convinced that he is truly a patriot. As one patriot to
another, I am very proud to be a citizen with him in this great country of ours.

Brandon gives me much hope. He is an inspiration. We are fortunate to have him
as a fellow patriot and I am very grateful for him and the opportunities our country
has afforded Brandon and other patriots like him.

Brandon will forever be in my prayers. I fully support Brandon Straka.

Thank you for your time.

Sincere]




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November 13, 2021

Re: Brandon Straka



Your Honor,

I am writing to you today on behalf of Brandon Straka, founder of the #WalkAway Campaign, a true American Patriot,
and fellow citizen. I want to express to you my sincere belief in the good character, good intentions, and true love of
country that I have come to recognize in Brandon. I don't know him personally, but I have seen the joy, light, love of our
fellow Americans, and goodness that his efforts and establishment of the #WalkAway Campaign brought into the lives of
hundreds of thousands, possibly millions of people across our country, and even across the world. I am writing to you
today because Brandon was brave when I was afraid, and now he needs my help, so you see, this letter is the least I can
do to stand up for this good, sincere, hard-working, patriotic, well-intentioned man.

When l"le stepf>ed into the har.sh.public spgtlight in 2018 a Ad created a little E-acebGo,k group called #WalkAway
Campaign, it brought him intense media scrutiny, but it also brought so much kindness, comfort, and community to all of
us who visited. Then it grew, and grew, and grew. There were so many stories on the various media platforms that
depicted Americans as hateful, negative, unkind, intolerant, selfish, and critical. Being exposed to that day in and day
out, I would feel worried and hopeless about the future. You see, I am a schoolteacher, and my husband is retired after
25 years of service in the United States Marine Corps. We have spent our entire lives loving and appreciating The United
States of America, and serving and protecting our communities, and educating our young people. That hopeless feeling
would instantly go away when I visited Brandon's Facebook group. He always shared the most positive, encouraging,
uplifting, hopeful messages. In turn, people from all walks of life, all income levels, all educational backgrounds, all
ethnic, social, and racial backgrounds, urban, rural, all ages, families, singles, gay, straight, trans, blue collar, white collar,
animal lovers, vegans, self-professed witches and vampires, punk rockers, rappers, folks recovering from addiction,
convicted felons, grandparents, college kids, high school students, citizens, immigrants ... literally every background you
could ever imagine, and even folks from other countries who admire the USA, would share kind words, love, and
friendship with one another, and express their stories about what it means to them to be an American or to live in this
great country. It was glorious! ZERO negativity - no name calling, no rudeness, no shouting down, no hostility, no
criticism, no threats. People who on the surface had many, many differences, came together and embraced each other,
listened to each other, supported each other, complimented each other, encouraged each other. Brandon Straka
created this group. He set the tone, the expectations, and created the message that anyone and everyone could
belong, we just needed to listen to each other with kindness, open hearts, and open minds, see each other's
humanity, and work together to help our neighbors. This is the real legacy that Brandon created, and it represents his
true character. I was there. I saw it day in and day out. It was beautiful. My mom joined, and she loved it too. Then
friends and other family members joined. Among us there are zero zealots, white supremacists, radicals, haters, phobics,
etc. We are just good, hard-working, "average Americans." I wish you could have known what a wonderful thing
Brandon gave all of us, because then you would see the real tragedy behind the efforts to tear it down, destroy it, and
falsely label him as dangerous.

Thank you for taking the time to consider my words in support of Brandon Straka's good character and intentions.



                                 I




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                          Exhibit VV
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November 11, 2021


The Honorable Judge Dabney L. Friedrich
The U.S. District Court for the District of Columbia
333 Constitution Avenue N.W.
Washington D.C. 20001


                                   p




Dear Judge Friedrich:

I am writing to you on behalf of Brandon Straka. I met Brandon on a late Friday night seven
years ago when he walked into a recovery center and asked for help with his addiction. In the
following months, as I worked with him closely, I found him affable, intelligent, earnest, and
eager to take on the spiritual challenges required for recovering from a seemingly hopeless state
of mind and body.

Brandon and I have different views on many subjects, yet over the last seven years he
continuously reaches out to me for spiritual support in his sobriety with uncommon open­
mindedness and willingness. I have seen how even addicts with decades of recovery contend
with the torment of obsession and compulsion. Despite this, I can confidently assure Your Honor
of the sincerity of Brandon's sobriety, which reflects an underlying hope for redemption and
serenity. His promise to cooperate with law enforcement is a first step towards making amends
and humbly addressing his shortcomings.

Thank you, Your Honor, for considering my experience and insight regarding Brandon's
character. Please contact me if I can be helpful in any way.

Sincerely,




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November 14, 2021




Your Honor and Counsel:

I am taking just a couple of minutes to write a quick letter in support of Brandon Straka. I do not have
the time to write the well thought-out letter he deserves but could not let this opportunity pass by.

I do not assume to know the true character of someone I have never met but can tell you the impact Mr.
Strake has had on my life.

My husband and I live in Northern California; I am a retired Deputy Marshal, and he is an active Police
Lieutenant. I had followed Mr. Straka and decided to attend a rally he was holding in Sacramento,
California in August 2020. My husband is less interested in getting "involved" in such things, and we
were both cautious in our decision to attend the rally, as such rallies were prime for those with differing
ideologies to express their opposition at such events. It is probably needless to say that we hold
conservative views and values.

We showed up at the rally early and were able to see the mood develop and transform. Mr. Straka
promotes an environment where EVERYONE is welcome. When we arrived at the rally, venders were
setting up pop tents, and the mood was good. As people started to arrive, the mood briefly became just
a bit uneasy, and we heard people express that they were concerned that those with opposing views
might take the opportunity to come to the rally to express them. Then, as the crowd grew, this uneasy
vibe just dissipated. Everyone was happy, smiling, and talking with people they didn't know. The energy
was positive, upbeat and welcoming, and the mix of people was like I haven't seen at such gatherings.
People treated each other like they were longtime, good friends. The mood and behavior of the
attendees was absolutely the result of BRANDON STRAKA AND WHAT HE PROMOTES AS THE FOUNDER
OF WALK AWAY. I have no doubt that the people who attended the rally have strong views and would
not only promote but protect those views, but Mr. Straka has a way of turning that energy into
something good and funneling it into a positive direction. If asked to bet, my money would be that Mr.
Straka's character, as well as his values and morals, are good, and he is the kind of person I would want
to see in any position of influence, be it a teacher, politician or authority figure.

My husband and I left Mr. Straka's rally with such a positive feeling and HOPE that people were still able
to be good to each other and have love for each other in a time where hate and violence seemed to
prevail. We attributed this solely to Mr. Straka and the way he promotes his movement.

Thank you for the opportunity to express how much we appreciate the positive Mr. Straka has brought
to such a negative time.

Sincerely,




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                                                                                             11/20/21




Your 1-lonor,

My name is                     I ha e worked at the I                           lfor 9 ½ years as a
communications specialist and re ide in             . I am writing this letter in reference to Mr.
Brandon J. Straka.

J have been volunteering for #WalkAway for just over 3 years. During this time I have worked
directly with Brandon. J find Brandon to be extremely hard working. compa sionate, funny and
honest. He has always been, approachable, fair and conducted himself with the utmost integrity
while leading The #WalkAway Campaign. Amongst many accomplishments, Brandon has spent
countless hours organizing event that have united many Americans from all walks of life, giving
them a safe and fair platfonn to discuss their differences and challenges in today's world. What
he ha created ith #WalkAway has positively changed my life. I am forever grateful.



Thank ou for your time.



Respectfully




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November 13, 2021


c/o Brandon Straka




To Whom It May Concern,


  I am writing this letter on behalf of my friend, Brandon Staka, who I think the world of and greatly
admire.


    I first met Brandon Straka when I attended a #WalkAway event in Washington DC in the fall of 2018.
I had seen Brandon's original YouTube video that made him famous and put #WalkAway on the map,
and I was enormously impressed and inspired by his passion and talent. At the end of the weekend
after that event in DC, Brandon and I had a private dinner together where I had the privilege of learning
who Brandon Straka, the man and human being, was, not the overnight celebrity he had unwittingly
become through his hard and good-intentioned work with the #WalkAway campaign. I found him to be
earnest, passionate, enormously bright, and with a vision of a movement that would bring people
together regardless of race, gender, political background, or religion to a "safe place" free from the hard
left or hard right ideology that many Americans, like myself, found themselves trapped in at the time. In
many ways, I see Brandon as a visionary of sorts, with a vision for the good, where people can talk and
share opinions again without being criticized or cancelled. Needless to say, I was impressed with
Brandon.


    Years later, in the summer of 2021, I happened to be in Los Angeles on vacation at the same time
Brandon was there on some business. We arranged to have another dinner. Of course, I knew of the
ordeal Brandon had been through and, as a friend, I wanted to help in any way I can, even if it was just
to cheer him up and encourage him that things would be okay. I could tell that Brandon was very hurt,
                                                 th
even devastated, that the events of January 6 had landed himself in the place he is now. I assured
him that good things come from bad things, that important lessons are learned, and a stronger and
wiser person emerges from the ashes.


   I encourage the court to please consider The Bigger Picture of Brandon's life, and not judge him
harshly on the actions and regrettable events of that fateful day in January. Brandon is a good man, a
compassionate human being, and a leader who inspires people for the good.


  Thank you for your time, and...


Kindest regards,




                                                        Exhibit ZZ
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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                     )     Case No. 1:21CR-579-DLF
                                              )
                      Plaintiff,              )
                                              )
vs.                                           )        ORDER TO SEAL
                                              )
BRANDON J. STRAKA,                            )
                                              )
                       Defendant.             )



       THIS MATTER comes before the Court on Defendants Motion for Leave to File Under

Seal his Sentencing Memorandum, Sentencing Exhibit List, and corresponding Sentencing Exhibits

based on the information contained therein.

       IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that Defendants
Sentencing Memorandum, Sentencing Exhibit List, and corresponding Sentencing Exhibits shall be
filed under seal.




DATE                                          DISTRICT JUDGE



Prepared and Submitted by:

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